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VOLUME 7 of 8 74. 16

Trial Court Cause No. 0885306D
In the 213TH DISTRICT COURT

of Tarrant County, Texas
Hon. ROBERT K. GILL, Presiding Judge

 

@d | BILLY JACK CRUTSINGER, APPELLANT

VS.

THE STATE OF TEXAS

- -
Appealed to the Court of CRIMINAL APPEALS rib E D ify
for the STATE OF TEXAS SURT OF CRI _
at Capitol Station 0 MINAL APP:
AUSTIN, TEXA es
UST S FEB 19 2004

ATTORNEY FOR THE APPELLANT Troy C. Bennet be

WILLIAM H. RAY, APPT.
5041 AIRPORT FREEWAY

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Delivered to the Court of CRIMINAL APPEALS (Court of CRIMINAL APPEALS)
for the STATE OF TEXAS at“Capitol Station, ,
AUSTIN, Texas, on the . Cause No.

Filed in the Court of CRIMINAL APPEALS

alts ot 1Q Muar. Bo. FOR THE STATE Of Texas, at

‘Capitol Station, AUSTIN, Texas, this

 

       
 

THOMAS A. WILDER? DISTR) CT CLERK,

 

 

 

 

 

 

o NT COUNTY,
7 / IC day of . ,
NANCY GILLILAND, TROY C. BENNETT, JR. Z , Clerk
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Deputy District Clerk . By , Deputy

 
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TARRANT COUNTY, TEXAS
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_ THE STATE OF TEXAS i IN THE 213TH Tae
K a
V8. 7 i DISTRICT COURT OF —
Mo :
BILLY JACK CRUTSINGER on TARRANT COUNTY; TEXAS

DE ANT’S MOTION TO NOT ALLOW THE JURY TO
EPARATE D DELIBERATIONS, AT E R THE

 

. TO-THE HONORABLE ROBERT K. GILL, JUDGE, 213TH DISTRICT COURT:
\ COMES NOW, thé Defendant, by anid through his Attorney of record, William H.“Bill”

@ Ray, atid Titi Moore, aiid réqiiests this Cotirt 6 ot allow thie jury fo separate during its
deliberations, at either the guil/innocence or punishment phases of thé trial, afid ifi support
thereof, would show the Court as follows:
1, Thé Deféridarit is charged with a felony offense.
2. Aftiélé 35.23 6f thé Cédé of Crittinal Prééediiré statés that “upoti ridtién of éither party,
the Court shall, after having given its charge to the jury, order that the jury riot be allowed to.
separate.”
3. Aftiélé 35.23 fuifthef States that afiy pérsoti Wh makes knows t6 the jury tiie: panty
fiadé the diction shall bé puriishéd BY contempt.

 

PRAYER

WHEREFORE, PREMISES CONSIDERED, the Defendant Prays that the Court grant
this motion.

WILL . “BILL” RAY
STATE NO. 16608700
ATTORNEY FOR DEFENDANT

| LAW OFFICE OF WILLIAM H. “BILL” RAY, P: C.
5041 AIRPORT FREEWAY

FORT WORTH, TEXAS 76117
(817) 831-8383 , | oo
(817) 831-8306, FAX aa ot

“WHERE THE WEST BEGINS” 7: °

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 9of144 PagelD 1849
r ERTIFICATE OF SER
_ This is 16 certify that a tfié. aad Corréct copy of the foregoing motion was hand delivered
{6 thé Tarrant Coiitity Crintitial District Attorney's Office 6fi the date shown By thé Cleris file
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WILLIAM Y/'BILL" RAY
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NO. 0885306D
THE STATE OF TEXAS re INTHE 213TH
a re
VS. 4 YK DISTRICT COURT OF
7 |
BILLY JACK CRUTSINGER xX TARRANT COUNTY, TEXAS.

THE COURT’S ORDER ON THE DEFENDANT’S

   

Came upon to be heard the foregoing Motion to Not Allow the Jury to Separate. The
Court, after reviewing the motion, finds that it should be, and the same is hereby

Granted
Denied
SO ORDERED.

DATE:

 

ROBERT K. GILL, JUDGE
213TH DISTRICT COURT

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 11 of 144 PageiD 1851

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NO. 0885306D

THE STATE OF TEXAS M INTHE2I3TH
VS. a x DISTRICT COURTOF
BILLY JACK CRUTSINGER yr ARRANT CO > ee
: CONSTITUTIONAL TARRANT COUNTY, TEXAS
MOTION TO SUPPRESS SEP 12 2003.

TO THE HONORABLE JUDGE OF SAID COURT:

 

‘Comes Now; the Defendant herein, by and through his attorneys of record, Wiliam H.
“Bir Ray, and Tim Moore, and moves this Court to ‘Suppress all evidence obtained by, and
specifically, the DNA analysis performed on epithelial cheek cells removed pursuant to Search
Warrant #SW-11397, that was executed on the Defendant on August 27, 2003, and would show
the Court the following: |

-On August 26, 2003, several days after jury selection had begun, and after the return of
the indictment in this case, a search warrant was presented to state district judge Sharen Wilson
by Detective J. T. McCaskill of the Fort Worth Police Department. Detective MoCasskill is the

_ affiant in the search warrant. The warrant was signed into effect at 10:35 am. by Judge Wilson
and assigned search warrant # SW-11397. The warrant authorizes the removal of epithelial cell
samples from the Defendant for DNA testing. The warrant was timely executed.

The affidavit in support of the search warrant does not state facts that show the existence
of probable cause that support the warrant’s issuance. Specifically, the affidavit alleges facts in -
support of the warrant’: S issuance in eight paragraphs, numbered “A” through “H”, re nd

| Paragraphs A thru D allege that a double homicide was discovered at 2716 Scott Avenue;

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Fort Worth, Tarrant County, Texas, a 1996 Cadillac was missing from the residence and was later
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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 12 o0f144 PagelD 1852

discovered in the 3100 block of North Main Street, in Fort Worth with a significant amount of
blood in it, and that a blood trail was found leading to the area where the Cadillac had been
parked, and this led the affiant to the conclusion that the actor was injured.
Paragraph E alleges that Detective McCaskill listened to telephone messages in the
residence and discovered that a credit card that belonged to one of the victims had been used .
several times. Further investigation revealed that the card had been used at the Seahorse Inn in
. .. Galveston, Texas during the early morning hours of April 8, 2003, and also at a liquor st store on

the evening of April 8, 2003. McCasskill concluded that the credit card was used after j the time of

death. At this point McCasskill contacted the Galveston Police Department and notified ‘them of

 

 

these facts, and then traveled to Galveston, Texas. _.

| Paragraph F alleges that McCasskill learned that Galveston Police officers went the
Seahorse Inn in Galveston, Texas, and learned that a white male used a credit card of or one of the
victims to rent room 101 at the Seahorse Inn. This person had identified himself as “David Jones”
to the manager of the Seahorse Inn, had arrived by Yellow Cab, and appeared to have been
drinking at Club 23, which is located in the same building as the nearest Yellow Cab sand T he
Galveston officers went to Room 101 of the Seahorse Inn, which appeared to be abandoned, and
found a Lay’s potato chip bag with a residue of chili and cheese had been left inside the Yoom.

Galveston police then checked a local convenience store, a Diamond Shamrock ‘and

discovered that a white male had tried to purchase a chili cheese dog and chips with a credit card,
but the card had been declined. The man then paid in cash and left. His description was a white
male, 25-35 years of age with a yellow shirt. At 1: 19 a.m., a Yellow Cab picked up a fare! at the
cab stand. aoe

Paragraph G alleges that Donald Epps, of Yellow Cab had taken a fare fitting the .

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description of the suspect (which at the time was a white male, 25-35 years of age with a yellow
shirt), and taken him to Tony’s Lazy Lounge. The affidavit then states that “this person was a
white male in a white Joe’s Crab Shack tee shirt, blue jeans, a red hat, and glasses and said he was
from Dallas, Texas.” Another cab driver had driven the same individual to another bar, the
Elbow Room.
Officer Garcia, IM went to these bars and looked for the suspect. No one was at the
Elbow Room, and the bartender was notified of the description of Garcia’s suspect. (a white male,
25-35 years of age with a yellow shirt). While at another bar, the bartender called and told police
that she had remembered the individual in question, and gave officers a different description, that
of a white male, mid forties, wavy gray hair, 220-250 pounds with a pot belly, blue jeans, a J oe’s
Crab Shack tee-shirt, and brand new tennis shoes. Officer Garcia then remembered that he had
seen someone fitting that description at Tony’s Lazy Lounge, but discounted him because he
seemed too old for the description that he had previously. Garcia then went to Tony’s and found
the defendant, who was dressed in a Joe’s Crab Shack tee shirt, blue jeans, new white tennis
shoes, with wavy gray hair.
_ When Officer Garcia asked the Defendant his name, the Defendant refused to answer, and
cut his eyes to the door, as though looking for an exit. Officer Garcia noticed that the Defendant
had a fairly recent cut on his finger. Officer Garcia then detained the Defendant.

Paragraph H alleges that DNA is necessary for the investigation of this offense.

"The evidence allegedly obtained was done in violation of the Defendant’s Constitutionally ==

protected rights as guaranteed by Article 1, Section 9 of the Texas Constitution and the Fourth
and Fourteenth Amendments to the United States Constitution because there are no facts

contained in the affidavit to support a finding of probable cause to issue a warrant for the

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, Defendant.

Specifically, the description of the person that Officer Garcia was looking for is not the
same person that he ultimately arrested, that is the Defendant. Thus, all facts up to the point that
Officer Garcia saw the Defendant are not relevant. Even if the description was the same, there is -
no connection between the Defendant, the motel room at the Seahorse Inn, or the use of a credit
card at the Diamond Shamrock, which was declined, or the cab ride in either taxi. The Yellow
Cab picked up a fare at 1:19 a.m., but there is no fact alleged in the affidavit concerning the time
the Seahorse Inn room was rented, nor what time the credit card was attempted to be used at the
Diamond Shamrock station.

The only facts that relate to the Defendant are that he was seen by the police in Tony’s
Lazy Lounge, he looked at the door when Officer Garcia approached him as if he was looking for
an exit, and the Defendant appeared to have a fairly recent cut on his finger.

Even assuming that the Defendant was the same person who bought the chili dog at the |
Diamond Shamrock and rode in the taxis, i.e. that the description was exactly the same, which it is
not, there is still no connection that the Defendant was ever in possession of a credit card
belonging to the victim, (there is no fact stating that the card that was denied at the Diamond
Shamrock was a card belonging to the victim), nor is there any statement that the Defendant was

the person. who rented the room at the Seahorse Inn.

Additionally, one of the facts in Paragraph F states that the officers entered room 101 of

 

 

circumstances. Further, Detective J.T. McCasskill testified on August 22, 2003 in this case on
other motions and indicated that he did in fact know that the Defendant had stayed in the

Seahorse Inn, thus having a proprietary right of standing to contest the search of the room. Thus,

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McCasskill was aware of those facts prior to the obtaining of this warrant, and these facts were
not made known to Judge Wilson in the search warrant affidavit addressed by this motion. Nor
was the fact that Detéctive McCasskill had previously obtained epithelial cells from the Defendant
several months prior to the application for the search warrant.

The only reason that this search warrant was obtained was because the State feared that

the arrest of the Defendant would, and it was in fact, ultimately be determined to be an illegal

XV

4 “<_ arrest.

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@ . For these reasons, the Defendant submits that the affidavit in support of the search

warrant in this case does not show probable cause.
PRAYER
PREMISES CONSIDERED, the Defendant prays that the fruits of the search in this case,
that is the information obtained from the epithelial cells of the Defendant pursuant to the search
warrant should be suppressed. |

RESPECTFULLY SUBMITTED,
® | . 1 WILLIAM H//BILL” RAY

STATE B O. 16608700

ATTO FOR DEFENDANT

LAW OFFICE OF WILLIAM H. “BILL” RAY, P.C.
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FORT WORTH, TEXAS 76117

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“WHERE THE WEST BEGINS”

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ATTORNEY FOR DEFENDANT

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CERTIFICATE OF SERVICE

I certify that a true copy of the foregoing motion was hand delivered to the Office of the
Tarrant County Criminal District Attorney’s office, on the date-shown by the clerk’s file stamp.

VL)"
WILLIAM H. “BILL” RAY

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_ Case 4:07-cv-00703-Y!. Document 84-8 Filed 11/03/17 Page 17 of 144 PagelD 1857

NO. 0885306D

‘THE STATE OF TEXAS _ ( INTHE 213TH at
VS. : x | DISTRICT COURT OF
BILLY JACK CRUTSINGER x | TARRANT COUNTY, TEXAS

THE COURT’S ORDER ON THE DEFENDANT'S

MOTION TO SUPPRESS

CAME UPON to be heard the Defendant’s Motion to Suppress. The Court, having
. \. reviewed the Motion of the Defendant, the response, if any, and after hearing the evidence and
“arguments thereon, and the applicable authorities, and after careful consideration, finds that the
e Motion of the Defendant should be, and i is hereby: -
Granted, all evidence obtained pursuant to Search Warrant # SW-1 1397 is is
suppressed from use in any manner. ¢

x Denied.

SO ORDERED.

DATE: ale v fx VLC

ROBERT K. GILL
JUDGE

 

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" “Case 4:07-cv-00703-Y (Document 84-8 Filed 11/03/17 Page 18 of 144 PagelD1858

NO. 0885306D

 

THE STATE OF TEXAS - IN THE 2137
. FILER nor CLERK
. THOMAS A WU ey ERAS
VS TART Gogg, DISTRICT COURT |

  
  
  

 

SEP
t

BILLY JACK CRUTSIN
By :
MOTION TO DECLARE THE 10-12 RULE UNCONSTITUTIONAL

«

“Yo THE HONORABLE JUDGE OF SAID COURT:
| COMES NOW the Defendant, by and through his attorneys of record, William
H. “Bill” Ray and Tim Moore, and pursuant to the Fifth, Sixth, Eighth, and
Fourteenth Amendments to the United States Constitution; Article One, Sections |
_ Three, Ten, Thirteen, and Nineteen of the Texas Constitution; and other applicable -
law, moves this Court: (1) to declare the. Texas Code of Criminal Procedure, |
Article 37. 071(2)(d)(2) and 37. 0712)H2) unconstitutional on the grounds that
they c create an impermissible risk of arbitrary imposition of the death penalty by
placing a false dilemma before the jury; (2) to declare Article 37.071 (2)(a)
unconstitutional with respect to its prohibition on informing the jury that a life
sentence necessarily results from an inability to answer any of the special i issues; _
‘and in the alternative (3) to provide clarifying instructions to the jury with » regard. .
| to the failure of j jurors to agree upon answers to special issues; and (4) to to allow the

attorneys to voir dire prospective jurors in order to discover their beliefs regarding

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‘Case 4:07-cv-00703-Y ' Document 84-8 Filed 11/03/17 Page 19 of 144 PagelD 1859
the substantive outcome of deadlock at the sentencing phase. In support of his
motion, the Defendant states as follows:

~ The “10-12 Rule?

 

1.) Texas Code of Criminal Procedure Article 37.071(2)(d)(2) requires the Court /

to charge the jury that it may not answer any issue submitted under Subsection (b)
4 of this article “yes” unless it agrees unanimously, and it may not answer any issue. .
“ho” unless ten or more jurors agree. :
2) The Court is required by Texas Code of Criminal Procedure Astle 37.07.
1(2)(f)(2) to charge the jury that it-may not answer the issue submitted under
Subsection (e) “no” unless it agrees unanimously and it may not answer r “yes”
unless ten or more jurors agree. :
3.) Under Texas Code of Criminal Article 37. 0712) (c) and 37.071(2) © 9 O the
jurors “shall” answer each interrogatory either “yes” or “no.” —
4.) In the event that the jury is unable to answer any issue, either ee it was
unable to secure unanimity for a “yes” answer or ten votes for a “ng? answer ”
pursuant to the issues submitted under Subsection (b), or because it was unable to —
secure unanimity for a “no” answer or ten votes for a “yes” answer pursuant to the

issue submitted under Subsection (e), Texas Code of Criminal Procedure ‘Article- ..

37.071(2)(g) requires the Court to sentence the defendant to life in prison. . This is

   

Substantively identical to the sentence that results if the jury is able to answer “no”

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individualized sentencing.

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‘to at least one issue submitted under Subsection (b) or “yes” to the issue submitted

under Subsection (e).

5.) Texas Criminal Procedure Article 37.071 (2)(a) prohibits the Court, either

attorney, or the defendant himself from informing the jury, or any prospective

juror, that the failure to answer any of the issues presented will result in a

mandatory life sentence. Jurors who ask questions regarding the consequences of

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stich a deadlock are routinely reread the original instructions.

6) Death is different not only in severity but also in kind from call other
punishments, The Eighth and Fourteenth Amendments to the United States |
Constitution demand additional procedural safeguards in “capital tals See
generally, Furman v. Georgia, 408 U.S. 238 (1972); Gregg v. Georgia, 438 USS. |
153 (1976); See Woodson v. North Carolina, 428 U.S. 280, 305 (1976)(holding that
“death is qualitatively different”). The effect of this is that legislatures and courts .
are obligated to strike a difficult, but constitutionally mandated, balane between .
the non-arbitrary imposition of the death penalty, and the right of each defendant to
individualized sentencing.. The Texas death penalty statute, by . providing |

misleading information to jurors and then prohibiting the court, the attorneys, and |

the defendant from correcting that misinformation, both creates a constitutionally. 4

mpermissible risk of arbitrariness, and denies defendants their right to.

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‘ Case 4:07-cv-00703- yi ‘Document 84-8 Filed 11/03/17 Page 21 of 144 PagelD 1861

The “10-12 Rule” Creates an Impermissible Risk of Arbitrariness

7.) The requirement that a death sentence not be imposed arbitrarily is derived
from the “Bight Amendment’s heightened ‘need for reliability in the determination |

that death is the appropriate punishment ma specific case.” Caldwell ve

Mississippi, 472 U.S. 320, 323 (1985)(quoting Woodson v. North Carolina, 428

U'S. at 305 (1976)). It was chiefly the concern that decisions of life and death were.

 

being arbitrarily made that led the Supreme Court in 1972 to declare the death

penalty in violation of the Eighth and Fourteenth Amendments to the Constitution.

See generally, Furman v. Georgia, 408 U. S. 238 (1972). In capital cases, therefore,

the Court is committed to ensuring that theré i is sufficient process to “guarantee, as .

much as is humanly possible, that the sentence was $ not imposed out of whim .. . or
mistake. ” Eddings v. Oklahoma, 455. US. 104, 118 (1982)(0’ Conhor, ‘I,

concurring) (overruled on other grounds). —

8.) The Texas death penalty statute affirmatively creates confusion in the minds of

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the jurors. Jurors are first told that the jury as a whole “shall” answer “yes” or “no”

to each issue presented; they are subsequently told that ten or more jurors must be

 

in agreement to give one set of answers and that they must be unanimous. in order-
to give another. This necessarily raises the question of what happens in, the event —

that the jury, despite being instructed that it,smust answer each question, is unable

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to get the minimum number of votes required to give either answer. The statute
clearly provides that in the event of a non-answer, the defendant is to receive a
sentence that is substantively identical to that which he or she would have received
had there been a verdict in favor of lifé, and thus the law itself exhibits no
confusion with regard to the situation presented. However, not only does the
statute fail to do all that is humanly possible to ensure that decisions regarding life

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"ahd death are not made as a result of that manufactured confusion, but it actively _

prohibits any clarification of the confusion by preventing jurors froit being
informed at any point of the effect of a non-answer. 7

9.) It is true that state legislatures are often siven discretion to decide what
information is relevant to a capital sentencing determination, and are thus able to.
exclude some information from jury instructions. See California v. Ramos, 463 .
U.S. 992, 1001 (1983) (holding that the Court generally “defer[s] to the State’s
choice of substantive factors relevant to the penalty determination”). However, that
discretion is bounded by the requirements of due process. See, e.g., Sinmons y .
South Carolina, 512 U.S. 154, 175 (1994)(O’Connor, J. concurring in judgment);
Ramdass v. Virginia, 530 U.S. 156, 195 (2000)(Stevens, J. dissenting); Shafer v.
‘South Carolina, 532 U.S 36, 39 (2001); Kelly v. South Carolina, 534 US. 246, 248- oy

(2002).

10.) In Ramos, the Court permitted a jury instruction regarding the State

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Case 4:07-cv-00703-Y bocument 84-8 Filed 11/03/17 Page 23 of 144 PagelD 1863
Governor’s commutation powers on the ground that the instruction was both -
accurate and relevant to a legitimate state penological interest. Ramos, 463.0. S. at
1001-06. Despite being prompted to apply Ramos in the case of Caldwell v.
Mississippi, the Court refused, _ holding that when the State argues that automatic |
appellate review is meant to determine whether the death penalty is appropriate in
a given case, this information not only inaccurately depicts the role of the appellate -

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court, but more importantly it serves an illegitimate state purpose by diminishing 7

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the ability of jurors to feel the gravity of their task. Caldwell v. MASsissippt 472
U.S. 320, 336-41 (1985).
11.) The Texas procedural rules and corresponding jury instructions are: equally
inaccurate and illegitimate. When jurors are instructed that they may not give a
verdict of life unless ten or more agree upon a life answer in response to,at least
one of the three issues, this provides an. incorrect picture of the state of the’ law. In .
fact, if only one-juror is able to conclude that sufficient mitigation exists ip warrant
the imposition of a life sentence, despite that j juror’s inability to convince nine
other jurors of his or her position, a life sentence will be imposed. This situation i 1s
unique to capital sentencing j juries. During the guilt/imnocence phase ofc criminal -
‘trial, it is strictly correct to inform the jury that unanimity is required for either. a,
‘verdict of guilt or acquittal. Although anything short of unanimity will lead toa

mistrial, and thus might lead the defendant to be released as though’ he were

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acquitted, he may still be retried and is thus unable to claim numerous basic

_ constitutional protections such as that | of double jeopardy. Under the. Texas —
sentencing scheme, while the legislature might prefer a life sentence that derives
from the agreement of ten jurors to one that arrives by default, the position of the
defendant is identical in both. See Padgett v. State, 717 S.W.2d: 55, 58

. (Tex.Crim.App. 1986) (holding that “a jury’s inability to answer a puiishment
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uestion in a capital murder case has the same sentencing effect as a negative —
answer’). Thus, instructing the jury that ten or more of them must agree upon a |
“life” answer in order to sentence the defendant to life, regardless of whether the .

court informs the jury of the effects of a non-answer, is an incorrect statement of .

the law. So long as the Texas statute equates the sentencing consequences of a life

 

verdict with the consequences of a non-verdict, the jury must not be mi

 

believe that anything more than one vote for life is required to secure that sentence.
The false distinction between a “life” answer of ten or more jurors and a non-
answer of less than ten jurors must be removed.

12.) This was not the case prior to 1981. Under Texas’s former capital sentencing
statute, if a jury failed to respond to any of | the three special issues the result was a
‘complete mistrial, requiring a new trial not just on sentencing but on guilt as well. .
‘See Eads v. State, 598 S.W.2d 304, 308. (Tex.Crim. App. 1980). Under such’a’

scheme, setting aside the other arguments proffered here, an instruction that ten or.

 
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more jurors are require for a life sentence would be just as unobjectionabl as an
instruction that unanimity is required for death, a finding of guilty, or an, goquittal.
Presumably in response to Eads and the additional costs and difficulties that sucha
situation would pose, the Texas legislature in 1981 amended the death penalty -
Statute, inserting the default sentence of life i in the event of a non-answer. - It was at

_, this time that the legislature also added the infirm language that is now in Article

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37 .071(2)(a), prohibiting jurors from being informed of this default result. It is .
clear that the legislature wished to change the sentencing reality of defendant
without informing jurors of this change. In doing so, however, the legislative.

change made the old instructions inaccurate depictions of the law.

13.) Not only are the instructions inaccurate, but they were intended to be

 

jurors who are informed that their decision will be reviewed for appropriateness by

 

an appellate court are impermissibly led to deflect their awesome responsibility
~ .onto the appellate courts, Texas j jurors a are impermissibly led to relieve themselves
of a sense of responsibility by placing it either upon the other Jurors, who are
unwilling to join the vote in favor of life (‘Iti is their fault that the defendant will be . |
killed because by not joining me they prevent | us from reaching the required

minimum of ten votes? ”), or upon the statutory scheme that purports to require ten

 

votes, rather than merely one, in order to give life (It i is the fault of the Texas

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case 4:07-cv-00703-Y ‘Document 84-8 Filed 11/03/17 Page 26: 26 of 144 PagelD 1866
statute because unless I can get at least ten votes for life, I myself may no vote for
life”). The principle behind Caidwell is that’ courts must ensure that jurors are not.
invited to place. their individual responsibility onto anyone else. Justa it is.
impermissible to lead jurors to place that responsibility upon the appellate courts, it
is impermissible to lead them to place it upon their fellow jurors, or upon a
_ restrictive sentencing statute. |

‘yy Assuming arguendo that the Texas statute does not provide the jury with the ©
type of inaccurate and illegitimate information prohibited by a traditional reading

of Caldwell, new empirical data suggests that such a reading of Caldwell is entirely -
inadequate to ensure that capital jurors feel the “truly awesome responsibility”.
placed upon them. McGautha v. California; 402 U.S. 183, 208 (1971). One recent
study by. the Capital Jury Project concluded that “many death penalty jurors seek,
and manage to find, ways to deny their personal moral responsibility. for the
sentencing decision.” Joseph L. Hoffman, “Where’s the Buck? | - Juror
Misperception of Sentencing Responsibility i in Death Penalty Cases,” 70 MD. L. J.
1137, 1157 (Fall 1995). Given that jurors hardly need to have | inaccurate
information provided to them in order for them to deflect responsibility, the
‘Caldwell rule itself should be read in light of the empirically supported Premise: ‘
that “death penalty jurors: will take advantage of any available opportinity to

mislead themselves about the extent of their responsibility for the sentencing

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decision.” Id. If we are to give any meaning to Justice Harlan’s concern that death
penalty jurors be required to individually feel this terrific weight. upon their
shoulders, courts must inform jurors that just.as each of them is required to vote for
death in order for that Punishment | to take place, each has the power to give the |
defendant life unilaterally. .

\ 15.) The result of misinforming jurors and forcing them to deliberate without

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ktlowledge of what happens in the event of. ‘a non-answer is that they are presented

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with a false dilemma, Jurors are given general instructions that they must answer

either “yes” or “no” to the issues before them, and specific instructions that define

  

the minimum number of votes required to give each of these answers
they are told that a death sentence follows from one set of answers, and a life .
~ sentence follows from another, a reasonable juror might conclude that the: only way
to get either of these punishments is to answer the questions posed to them. See -
California v. Brown, 479 U.S. 538, 541 (1987)(quoting Francis v. Franka, 47
U.S. 316 (1985)(holding that the constitutional sufficiency of capital sentencing :
instructions j is determined by “what a reasonable j Juror could have understood the
charge as meaning”). This leaves j Jurors free to speculate as to what would occur .—
should they be unable to provide an answer to the issues. While it is possible that 7 ‘

jurors might comrectly guess that the failure t to agree will result i in a life sentence, it

is. perhaps more > likely that they will conclude’ that a non-answer will lead to a

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lesser sentence, a costly retrial or resentencing proceeding, or absolute freedom for

the defendant. Given that each of the jurors has already found the defendant t guilty

of a capital offense, none of these options would look desirable to a juror who |

honestly believes that a life sentence in warranted. Jurors are left to deliberate with |

the false belief that if they are unable to gain unanimity for a death sentencé or ten

or more votes for a life sentence, an altogether unacceptable third option will

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16.) In Simmons the Court prohibited just this sort of unfairness, holding’ thiat “The |

State may not create a false dilemma by advancing generalized arguments
regarding the defendant’s future dangerousness while, at the same time, preventing

the jury from learning that the defendant never will be released on parole. ”

Simmons, 512 U.S. at 171. The Texas statute instructs jurors that at least ten of ° -

them must agree in order for a life sentence to be imposed and yet prohibits jurors

from leaming that only one vote is actually required for a life sentence. It is | .

precisely because jurors are left to speculate when capital juries are not. informed
of the consequences of a deadlock that several states have declared the practice to

bei in violation of Eight Amendment protections as found in Gregg v. Georgia, 428

U.S. 153 (1976). See, e.g., Louisiana v. Williams ,392 So. 2d 619, , 634.35 7

(1980)(holding that “by allowing the jurors to. remain ignorant of ‘the trie

consequence of their failure to decide unanjmously upon a recommendation, the

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trial court failed to suitably direct and limit the jury’s discretion so as to minimize

the risk of arbitrary and capricious action”; New Jersey v. Ramseur, 106 NJ 123,

314 (1987\stating that “the jury must be told, in effect, that the law recognizes
deadlock ‘as a permissible result, an | outcome allowed by the statute, a legal trial 7
verdict that by law results i in imprisonment rather than death”).

17.) While this confusion might. pressure voters to change their position i in order to

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avoid the unknown third option, it might lead .to an even more basic

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misunderstanding. Because jurors are told that each question must be answered,
and voting ballots do not include an option for non-answer, a reasonable juror
following the instructions might believe that a non-answer is not only undesirable,
but is in fact impermissible. Such a juror might believe that because he. or she is _
unable to secure the ten votes required to give the answer that that juror wishes the |
jury to give, and because some answer either way must be given, that ie is i in
fact obliged to vote with the others and sentence the defendant to death. Although -
the law is clear that a death sentence may never be mandatory, and idividual -
jurors must always be free to vote for life, such a belief would reasonably follow
from the instructions mandated by the Texas sentencing scheme. In fact, jurors
often mistakenly believe that they are required by law to impose death.” One study - 4
found that when j jurors asked for clarification. and were simply referred back to the |

original instructions, rather than being disavowed of their false belief they became .

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more likely to mistakenly believe that the evidence required them to vote for
death. ‘This i is precisely what the Texas statute would have judges do when j jurors
ask questions regarding the implications of a non-answer. The Texas statutory
scheme creates ‘a set of instructions that lead jurors to have false beliefs regarding a
their sentencing options, prohibits them from learning their true options, and then
operates in a fashion that solidifies their pro-death leanings.

18.) It is not mere conjecture that jurors might be confused by the Texas statute in _ .
sd particular, A quick survey of Texas capital cases reveals numerous instances in
which jurors have exhibited their confusion by asking the judge for clarification,
Even in the absence of such evidence of confusion, however, the Court has stated _
unambiguously that the “trial judge’s duty is to give instructions sufficient to.
explain the law, an obligation that exists independently of any question from the
jurors or any other indication of perplexity on their part.” Kelly, 2002 U.S. LEXIS
e 402, 19. The Court in Kelly recently held that though the j jury in that case e did not

| exhibit its confusion by inquiring about parole as the juries in Simmons and Shafer
had, common sense was all that was required to know that the jurors might have
been confused. Id., at 20. Similarly, even n if empirical evidence were not available
to demonstrate that the “10-12 Rule” fosters confusion among jurors, tamer —

sense is sufficient to conclude that the statute itself and in particular its prohibition

on permitting trial judges from fulfilling their duty to give sufficient instructions to .

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explain the law, is unconstitutional.

19.) Commenting on the prohibition on informing juries of the effect of deadlock,
Judge Clinton -was likely correct when he stated in his dissent in Sattiewhite y.
Texas that “Tilt seems apparent to me that the purpose ... is to act as a kind of
inverted ‘dynamite’ charge. The Legislature did not want jurors to know that
failure to reach a punishment verdict — a hung jury — would not result in the
State incurring the additional expense of a retrial.” Sattiewhite v. Texas, 786 ,
S.W.2d 271, 292 (Tex.Crim.App. 1989)(Clinton, J. dissenting). The converse of
this is that the Texas legislature did want to foster the false belief. of jurors that a
non-answer would require the additional expense of a retrial. Even when it is true
that a hung jury will result in a costly retrial, the Constitution does not permit

Judges to refer to the additional expenses when they urge deadlocked Juries to try

to come to a verdict. See United States vy. Taylor, 530 F.2d 49, 52 (5th Cir. 1976).

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In the event that such costs do not in fact exist, as is the case under the Texas
statute, it is all the more clear that the Constitution cannot permit the legislature to
benefit from that misperception by prohibiting judges and lawyers from correcting
the mistaken n beliefs ofj Jurors.

20.) The ; inaccurate te and ill illegitimate i instructions. provided | to Texas. capital . -

sentencing juries creates an unacceptable risk that decisions are being made

arbitrarily or by mistake. While it is true that uncertainty about the consequences

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of a non-answer might lead a lone holdout for a life sentence to join the other
jurors voting for death, it is equally true that this confusion might lead at least one
of the three holdouts for death to join the nine other jurors voting for life. See, €. B., “5
Jones v. U. S., 527 U.S. 373, 394 (1999) (stating that the petitioner could not
demonstrate prejudice because “[i] t is just as likely that the jurors, loathe to
recommend a lesser sentence, would have compromised on a sentence of life
imprisonment as on a death sentence”). With regard to the Texas statute, while this
point might be correct, it fails to prevent serious constitutional infirmities for two
reasons. First, because the statute provides defendants with the exact same
sentence regardless of whether they receive one vote for life or ten, the State itself
is not prejudiced when votes for death are changed into votes for life for the sake |
of obtaining the ten vote minimum. The defendant, however, suffers a tremendous
wrong when holdouts for life switch their votes to death out of confusion or a

feeling of obligation. Thus, only the defendant, and not the State, could suffer harm

 

from such confusion. Even if the State did have an interest in keeping life
sentences that derive from a verdict distinct from life sentences that derive by

default, that interest is S vastly overshadowed by the defendant’ s interest. See

 

Lowenfield v. Phelps, ! 484 US. 231, 252 (Marshall, J. dissenting)(stating that when ,
the substantive outcome of a deadlock is identical to that of a life verdict, “the

State’s interest in a verdict . . . [is relatively weak, whereas the defendant’s interest

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case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 23 of 144 Pagel) 1873
in preserving the integrity of a dissenting vote [is] correspondingly strong’’). Stated
simply, while the defendant never needs to have a voter change his or her vote out
of confusion, the. State, because death may only be imposed through a unanimous
verdict, does. Thus, while it might be true that it would be difficult to determine |
whether a particular defendant was prejudiced, it is beyond dispute that the system

‘ _ as a whole can only prejudice the defendant.

21 .) Second, it is eminently clear that when confusion regarding the outcome ofa
deadlock leads jurors to change their votes i in either direction simply for the sake of ©

a verdict, those decisions regarding life and death are being made arbitrarily. In

cases in which the j jury does not quickly, and without dispute, come to agreement
on the appropriate punishment, the two most important factors remaining for a
decision are the general confusion of the j Jurors caused by misinformation, and the
initial disposition of the jury regarding whether or not to imposé death, : if nine
jurors find sufficient mitigation to warrant a life sentence, at least one of, the three
jurors holding out for death will be likely t to switch over solely out of uncertainty
regarding the consequences of a non-answer or due to a mistaken belief that an

| answer must be reached at all costs. If eleven j Jurors vote for death and one finds
that the mitigating evidence warrants life, that j Juror might be swayed to, :Wote for- -
death for identical reasons. When jury instructions misinform jurors and

| Purposefully prevent clarification, and verdits are rendered out of such confusion,
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it is clear that those instructions “introduce a. level of uncertainty and unreliability

into the factfinding process that cannot be tolerated in a capital case?” Beck vz
Alabama, 447 U. S. 625, 643 (1980) (overruled on other grounds). =
The “10- 12 Rule” Denies the Defendant’s Right to Individual Sentencing !
22.) The Constitution requires that states balance the obligation to minimize the
risk of arbitrariness with the need for individualized sentencing. “[I]n capital cases |
“the fundamental respect for humanity underlying the Eighth Amendment requires
} consideration of the character and record of the individual offender and the /
circumstances of the particular offense as a constitutionally indispensable:part of )
the process of inflicting death.” Woodson, 428 U.S. at 304. In furtherance of this —
demand, the Court held in Lockett that “[T]he sentencer ... [can] not be precluded
from considering, as a mitigating factor, any aspect of a defendant’s character or
record and any of the circumstances of the offense that the defendant proffers as a |
@ basis for a sentence less than death?’ Lockett v. Ohio, 438 US. 586, 604 (1978) |
Later cases have clarified that such mitigating evidence need only be proven by a
preponderance of the evidence. See Walton v. Arizona, 497 US. 639, 649-50
(1990) (overruled on other grounds). More importantly, the Court has
unequivocally held, and the Texas statute clearly states under Anticle
37.07 12)(G) that a single juror must | be permitted to consider and ‘weigh -
mitigating ¢ evidence unilaterally, regardless of whether any other j jurors accep the

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evidence as mitigation. See McKoy v. North Carolina, 494 US. 433, 435 (1990);
Mills v. Maryland, 486 U.S. 367, 374-75 (1988).
23.) Although the capital sentencing jury resembles juries that sit.in the
guilt/innocence phase of capital and non-capital trials, its role is distinct. All j juries
have historically been expected “to secure unanimity by comparison of views, and
by arguments among the jurors themselves?” Jones, 527 U.S. at 382 (quoting Allen
v. United States, 164 U.S. 492, 501 (1896). The capital sentencing jury, however,
is charged more precisely with the duty to “express the conscience of the
community on the ultimate question of life or death.” Lowenfield, 484 U.S. at 238
(citation omitted). Because extraordinary protections are constitutionally required
to ensure against unwarranted impositions of death, the Texas sentencing scheme,
like the Louisiana Statute, creates “a situation unique to the capital trial that a
single juror, by persisting m a sentencing recommendation at variance with all of
his fellow jurors, may alone cause imposition of a life sentence.” State v. Loyd, 459
 So.2d 498, 503 (La. 1984). The requirement of individualized sentencing in capital
trials means not simply that defendants must be judged based upon their own

character, but that they must be judged as such by individual jurors charged with

 

considering the evidence and asked to make determinations of life and death. This -

“clearly follows from the Court’s demands that each individual juror be capable of

considering mitigating evidence that that juror alone finds to exist simply by a

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" Case 4:07-cv-00703- Yo ‘Document 84-8 Filed 11/03/17 Page 36 of 144 PagelD 1876

preponderance of the evidence.

24.) Members of a capital sentencing jury sit through the court’s instructions, take
an oath, and pass through the extraordinary process of death qualification. More
than any. other jury that sits in a courtroom, we can be confident | in our

presumption that such jurors are unbiased, impartial, and capable of deliberation. It

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cannot be correct, therefore, to say that informing jurors of the effects of a -
“Radtock would act as an “open invitation for the jury to avoid its resporisbility
and to disagree.” Davis v. State, 782 $.W2d 211, 221 (Tex.Crim.App.
1992)(quoting Justus v. Commonwealth, 266 S.E.2d 87, 92 (Va. 1980). Rather,

when a juror decides that sufficient mitigation exists to warrant a life sentence, and

 

wishes to stick to that position despite the fact that it will prevent the jr from

reaching a verdict, he does not violate some e abstract duty to “secure unanimity” or

to not “disagree.” It is true that under the Texas sentencing statute, a jur jue would

@ be abdicating’ his or her responsibility v were he or she to not answer one of the .
questions. .

“The issues are framed in a manner which permits them to be answered either .

affirmatively or negatively, and it is the purpose of the deliberative p process to
resolve juror vacillation?’ Nobles vy. State, 843 S.W.2d 503, 510 (Tex. Crim, App. .

1992). Once deliberation has taken place, vacillation has been resolved, and each

Juror has settled upon his or her answer to the three special issues, however, surely °

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the failure of those votes to meet the numerical requirements of the “10- 12 Rule”
cannot be considered a violation of the jury’s duty. On the contrary, as the

Supreme Court of New Jersey held in Ramseur, and as is equally true under

Texas’s statutory scheme, “A capital jury does not ‘avoid its responsibility’ by

disagreeing — genuine disagreement is a statutorily permissible conclusion of its

deliberations.” Ramseur, 106 NJ. at 311.

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25.) Indeed, . McKay and Mills together stand for the principle that setting up .

| barriers to prevent the jury from disagreeing can itself be constifutionally oe
prohibited. This is precisely the case with the «10-12 Rule,” the substantive effect
of which is that it prohibits individual jurors from having a “meaningful ;
opportunity” to judge the defendant on the basis of mitigation by creating the

appearance that while each j juror may introduce and weigh mitigating. evidence

 

 

unilaterally, a minimum of ten jurors are required to pass judgment on such -
factors.’ This was exactly what the Court was concemed about in McKoy when it
held that Mills requires that each juror be Permitted to consider and give effect to . |
mitigating evidence when deciding the ultimate question whether to vote e for ao
inform the jury that they ‘ ‘need not agree on what particular evidence support an- -
affirmative finding on the issue [of mitigation)’ Article 37.07 i203), if the -

effect of the entire instruction is that ten ,of more jurors must agree upon an

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- juror must be capable of giving effect to mitigating evidence when determining the
appropriate punishment, and thus only one juror, not ten, must be sufficient under
Article 37.071(2) (f) (2) to answer “yes” to the mitigation issue present by

_37.071(2) (€) (1). By instructing the Jury that ten jurors are required in order to

give a “yes” answer, the Texas statute violates the principles underlying Mills and
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consider mitigating factors.

The “10-12 Rule” Denies the Defendant’s Right to a Fair and Impartiality

confusion in the minds of the jurors, and then prohibiting them from haying their

confusion clarified. This was earlier discussed within the context of the additional

outside of the courtroom to introduce such ideas into deliberations.

concepts such as mitigation. As discussed above, a reasonable juror who

conscientiously attempts to understand the Texas sentencing statute might be led to

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unreliable sentences. An additional problem created by such confusion :is that it

permits jurors with misconceptions about the law formed prior to the. trial and .

regarding the state of the law, their role as jurors, and the definition of key -

‘ Case 4:07-cv-00703-Y * Document 84-8 Filed 11/03/17 Page 38 of 144 PagelD 1878 —

affirmative finding in order to give effect to the finding of any one juror. Each .

MtKoy by preventing individual jurors from having a meaningful opportunity to .

26.) As discussed above, the “10-12 Rule” operates by necessarily, creating -

Eighth Amendment safeguards required to reduce the risk of arbitrary and

27.) It is beyond dispute that capital juries are often dominated by misconceptions |

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believe that just as a sentence of death may not be imposed unless the jury is
unanimous with regard to all three special i Issues, a sentence of life may not be |

_ imposed unless at least ten jurors agree with respect to at least one of: the three |
special issues. Not only does this mistaken belief raise an Eighth Amendment 7

problem + with regard to arbitrariness and reliability, but the possibility that jurors

ment draw upon their preconceived notions to resolve such a situation raises Sixth

*Wnendment concerns.

28) The right to an impartial jury has long been recognized as fundamental. See,

e.g. Lockhart v. McCree, 476 US. 162 (1986). This is particularly crucial in capital
cases, where the Constitution demands that “the decision whether a man deserves

to live or die must be made on scales that are é not deliberately tipped toward death. ”
Witherspoon v. Illinois, 391 U.S. 510, 523 n. 20 (1968) (overruled ' on 1 other -
grounds). To protect this right, courts are obliged to take reasonable steps. to ensure

the impartiality of a jury. ‘It is for this reason that voir dire is made availabe to

both parties, the Judge is equipped with the power to strike jurors for cause, each

 

party is granted a certain number of peremptory challenges, and jury in an
are fashioned to clarify the jury’s role and i impress upon them the a of
their task and the oath to which they have sworn. : : a ‘
29, ) By manufacturing confusion in the minds of the j jury and preventing ‘the court

or the attorneys from correcting it, the “19-12 Rule” creates fertile gtound for

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" Case 4:07-cv-00703-Y “Document 84-8 Filed 11/03/17 Page 40 of 144 Page'D 1880

Jurors to draw upon their own biases and preconceived notions in coming to a
verdict. This is Particularly dangerous when jurors are confused about their
sentencing options and the results of their sentencing decisions. The concept of a
hung jury is widely understood to be a disfavored result. In most trials, a hung jury |
leads to a mistrial, and most people understand that a mistrial will either lead to a

costly retrial or to the dropping of charges. While neither of these undesirable

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olitcomes will result in the case of capital sentencing under the Texas statute,
wusors are required to be kept in the dark with regard to that materially relevant |
fact. The “10-12 Rule” effectively forces the jury to wonder what would happen
were they are unable to answer the special issues, possibly leads them to believe |
‘that an unacceptable third alternative other than life and death would follow, and
then leaves them to draw upon their own preconceived notions in coming to a .
verdict. While the concept of a mistrial might be distasteful to a holdout, and i is
| @ certainly disfavored by the court, during the guilt/innocence phase of : a criminal -
trial, it is surely all the more unacceptable to a juror in a capital sentencing |
proceeding who has already found the defendant guilty of a capital offense. The |
risk that j Jurors will enter the courtroom with that misconception is too. great to
allow them to continue deliberating in the dark. ' 7 .
30, To ensure that capital juries do not rely upon their biases regarding hung juries -

during deliberations, jurors must either have their misperceptions corrected, or they

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‘Case 4:07-ev-00703-Y Document 84-8 Filed 11/03/17 Page 41 of 144 PagelD 1881
must be examined for bias during voir. dire. Because of the additional ‘Eighth
Amendment problems with forcing jurors to deliberate using false information, this
Court should declare Article 37.071(2)(a) unconstitutional with respect to its
prohibition on informing the jury of the effects of a deadlock. The Court should .
protect the right to a fair and impartial jury by informing the jury that if it is unable

_', to reach the minimum number of votes required to give an answer to any one of the

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special i issues, it 1s permitted to return the ballot without any answer. In the event
that the j jury is unable to answer any of the three special issues, the court will —
sentence the defendant to life imprisonment. : |
31.) Should this Court not wish to protect the defendant’s right to a fair and |
impartial jury by invalidating Article 37. 071(2)(a), attorneys: must be permitted to

_ voir dire potential jurors to discover what they believe would happen i im the event |
of a nonanswer. See Rosales-Lopez v. United States, 451 U.S. 182, 188 AB8(voi
dire ‘ splays a critical function in assuring the criminal defendant that his Sixth
Amendment right to an impartial jury will be honored”). Not only is such |
questioning permitted by the Texas statute on the grounds that it would not 3 involve
informing prospective jurors of the actual consequences of a non-answer, , but it is
clearly in line with the central holding in Turner v. Murray that the risk of} juror - : |

bias must be considered “in-light of the case with which that risk could have been

minimized.” Turner v. Murray, 476 U.S. 28, 36 (1986),

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" Case 4:07-cv-00703-Y‘ Document 84-8 Filed 11/03/17 Page 42 of 144 PagelD 1882 _

(overruled on other grounds). In Turner, the Court held that because of the
complete finality of the death penalty, and the risk that racial prejudice would
infect jury deliberations, the trial judge failed to protect the defendant’s right to an
impartial j jury by not permitting the lawyers to question prospective jurors ‘on their
racial prejudice. Id. Similarly, because of the finality of the death penalty, and the
risk that preconceived notions regarding | the effects of a ung J jury will improperly |
“pttrate jury deliberations, the right to an 1 impartial j jury must be protected at the
very least by granting attorneys the right to question jurors about their ‘beliefs.
While defendants may not have an absolute right to voir dire potential jurors
regarding their beliefs about deadlocked j juries, when the ‘epislature has barred all

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other means of bringing such biases to light and correcting them it. ‘becomes
imperative that defendants be equipped with the tools to confront those who sit in
judgment upon them. ! .

32:) In King y. Lynaugh,' the Fifth Circuit sitting en banc reversed an eatlir 7
decision by a three judge panel which concluded that for Texas to deny a defendant

the opportunity to present information about parole eligibility is, therefore, to limit

his decision to bring to the sentencer’s consideration relevant information and
circumstances that might cause the jury to decline capital punishment. King v yo . |

Lynaugh, 828 F.2d 257, 264 (Sth Cir. 1987). In his dissent from the en bane ‘tuling,

Judge Rubin wrote: “It is precisely because Texas. courts refuse to give ‘accurate,

 

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 43 of 144 Page|D 1883 L
corrective instructions that voir dire about potential jurors’ understandings of |
parole law becomes necessary?’ King v. Lynaugh, 850 F.2d 1055.. 1067 -
(1988)(Rubin, Williams, Johnson, JJ. dissenting). An essential feature of the
Court’s holding in that case was that trial judges can use their discretion in
determining how to restrict voir dire and fashion jury instructions, relying u upon

, “immediate perceptions’ Rosales-Lopez, 45 1 U.S. at 188-89, and the “demeanor” .

N\A .
oF the jury, Ristaino v. Ross, 424 U.S. 5 89, 595 (citation omitted). The present case |

is distinguishable from King, however, in that it is the legislature, and not the trial
judge, that has decided not to issue accurate, corrective instructions to the j jury
regarding deadlock. Whereas the trial judge maintains the freedom to instruct the —
jury on parole or to allow the attorneys to voir dire the j jury with reward to their |
beliefs on parole, the “10-12 Rule” expressly restricts the judge’s dseptionary .
powers with regard to instructing the jury on the law of deadlock. Thus, even if
King is correct in instances in which it is the courts which make the decision to not
give clarifying instructions, when the legislature makes such a decision as is the
case here, it is the duty of the courts to Protect the right to an impartial | jury by
providing additional safeguards through the process of voir dire. That duty drives |
from the unique advantages that the trial judge has over the legislature to.¢ ensure a - ,
fair and impartial jury on a case by case basis.. | 7

The “10-12 Rule” Prevents the Defendant from Receiving Effective Assistance of

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" Case 4:07-cv-00703-Y ‘ Document 84-8 Filed 11/03/17 Page 44 of 144 PagelD 1884

Counsel 2

33.) It is a fundamental principle in death penalty jurisprudence that “If an

experienced trial judge, who daily faces the. difficult task of imposing sentences, |

has a vital need for accurate information about a defendant and the crime he

committed in order to be able to impose a rational ‘sentence in the typical criminal .
‘ case, then accurate sentencing information is an indispensable prerequisite to a

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reasoned determination of whether a defendant shall live or die by a Jury ¢ of ‘People a

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who may never before have made a sentencing decision.” Gregg, 428 U: Ss: at 190
(Stewart, Powell, and Stevens, JJ.). This is so clear that the Fifth Cirouit in Burley

v. Cabana declared that it was ineffective assistance of counsel in violation of the
Sixth Amendment for the trial lawyer to not “inform the trial court of sentencing -
alternatives...” Burley v. Cabana, 818 F.2d 414, 418 (5th Cir., 1987).

34.) If it was ineffective assistance of counsel to not inform the judve of his
sentencing alternatives, it would surely be ineffective assistance of counsel to not
inform a sentencing jury of its sentencing alternatives. Yet this is precisely what
the “10-12 Rule” forces trial counsel to do by preventing attorneys from. informing

the j jury of the true state of the law. A reasonable defense attorney would surely
inform each j juror that not only is it that j Juror’ Ss right, but it is in fact that Juror’ S- | , |
‘duty, to individually weigh the evidence presented and make a determination for -

life or death on the basis of that individual” § conscience. Such a statement would

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"Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 45 of 144 PagelD 1885

accurately describe the role of the capital juror, and would provide the jury with

information materially relevant to their sentencing responsibilities. To prevent an

attorney from informing the jury of the true state of the law when such information

is essential to the capital juror’s role i is to prevent the attorney from providing the

defendant with his right to adequate counsel. This is equally true in the évent that

\ counsel is prevented from conducting voir dire in order to intelligently utilize
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edunsel’ S peremptory strikes to remove prospective jurors harboring devastating

misunderstandings of the consequences of deadlock under the Texas death’ ‘penalty.

| The “10-12 Rule” Has a Coercive Effect upon the Jury

 

35.): “[Tyhe principle that jurors may not be coerced into surrendering, views
conscientiously held is so clear as to require no elaboration. ” Jenkins i ‘United
States, 380 U.S. 445, 446 (1965)(quoting the Solicitor General’s brief to the }¢ Court). 7
In Jenkins, the Court declared that “in its context and under all the « ciroumistances”

the judge’ S statement to the jury that “You: have got t to reach a decision in ‘this
Court applied Jenkins in holding that reversal would have been appropriate “solely |
because of the risk that the foreman believed the court was insisting on a-
dispositive verdict.” United States v. United States Gypsum Company, 438 US. . o :
422, 460-62 (1978). In his concurrence with the Third Circuit’ S Judgment j in the

case Prior to the Supreme Court’s ruling, Tudee Adams concluded that when the |

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| Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 46 of 144 PagelD 1886"

jury foreman suggested to the trial judge that he knew the court wanted a verdict

“one way or the other’ the trial judge at that time “possessed the affirmative .

obligation to make it clear to the foreman that the jury had the option of reaching

no verdict, should juror unanimity prove impossible.” United States v : United :

States Gypsum Company, 550 F.2d. 115, 133 (ad Cir, 197)(Adams, I
‘ concurring). | | :

36.) Within the context of capital sentencing, and taking into consideration the __

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circumstances required by the Texas statute, instructing the jury that they “shall”
answer “yes” or “no” to the special issues presented to them acts as undue
coercion. It has already been shown above that the Texas statute necessarily creates _
confusion in the minds of jurors, and might affirmatively mislead jurors to believe
that a third alternative to life and death exists. Within the context of the demand
that each issue must be answered, setting minimum votes for each answer has the |
@ effect of coercing holdouts for life or death to feel that the need to come toa |
verdict takes precedent over their conscientiously held belief. While “this is
unacceptable in all criminal trials, it. is particularly ‘unacceptable in capital
sentencing proceedings. | :

37.) In Lowenfield the Court in a capital case upheld the use of a supplemental- «
‘charge similar to an “Allen charge” that was intended. to encourage the jury to |

come to a verdict. Lowenfield, 484 U.S. at 240-41. The Court acknowledged that .

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‘Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 47 of 144 PagelD 1887
although the traditional justification for such a charge — “the avoidance of the
societal costs of a retrial” — did not exist, the State still had a strong interest in
having the jury ‘ ‘express ‘the conscience of the community on the ultimate question
of life or death, ” Id, at 238 (citation omitted).

38.) Under the Texas sentencing statute the societal cost justification for pressuring

\ juries to return a verdict is similarly absent. Thus the only possible State interest

   

“Bat could balance against the strong State and private interests that juro 3
coerced, that defendants be tried by a fair and impartial jury, .and that
determinations of punishment be reliable and non-arbitrary is that capital juries are
meant to speak the conscience of the comunity.
39.) While it is true that capital juries are meant to represent the community two.
reasons exist for why this value cannot outweigh the risk of coercion, bias, and

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arbitrariness that are created by not informing the jury that they have the option of
not answering a question,’ and that the effect of a non-answer is a life Sentence.
First, in order for the jury to enter a verdict of death under the Texas scheme all
twelve members of the j jury must agree on all three special i issues. Thus, while the
purpose of the jury is to express the collective conscience of the community, just as -
each community is made up of individuals each jury is made up of individuals - ; .

What we are really looking For is not a jury that as a unit is asked to speak thie

. Singular voice of the community, but rather, we are asking twelve representative ee

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Case 4:07-cv-00703-Y ‘Document 84-8 Filed 11/03/17 Page 48 of 144 PagelD 1988
individuals to each speak his or her own voice, and through that we hope to discern .
the collective conscience of the community.” Iti is a mistake, therefore, to consider :
that the State’ S ititerest in having the j Jury speak the conscience of the community |
conflicts v with the State’s interests in not coercing the j jury, providing a fair and
impartial jury, and limiting the risk (for arbitrary and unreliable decisions. Those
interests are one and the same, for if any member of the jury feels undue pressure .
@ P change his vote in order for the jury to come to a verdict, the State’s interest in :
having the jury speak the conscience of the community is frustrated. It is only
when each member of the jury is left entirely free to weigh the evidence presented,
is permitted to unilaterally introduce and consider mitigation, and is fully informed
of the individual, awesome responsibility ‘that he or she bears in making this
decision between life and death that the conscience of the community will be

expressed. The Court must allow for the very real possibility that a non-verdict is"

itself an expression of the community’s truly divided conscience with 1 respect to

 

the issue of whether an individual should live or die.
40.) Secondly, even if the State’s interest in a verdict does stand in opposition to
the other interests that the State and the individual defendant might hold, the entire |
body of capital punishment jurisprudence ‘Speaks to the overriding nature of our- ’
‘need to protect against unwarranted impositions of death. The State aways has an

interest in reaching a verdict and having the j jury speak the voice of the community.

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 49 of 144 PagelD 1889
That interest has not been allowed to supercede the defendant’s right to a fair and
impartial jury, to not be subjected to oruel and unusual punishment, or.to not .
“Teceive the equal protection of the law. 3
WHEREFORE, PREMISES CONSIDERED, the Defendant respect -
requests that: (1) the Court declare Texas Code of Criminal Procedure. Articles |
_ 37.07 IED), 37.071(2)(f)(2), and 37. O712)a) unconstitutional; (2) the Court
“Vastruct the jury that in the event that they are unable to answer any issue presented .
to them they are to return the ballot without said answer, and that a life sentence
will be imposed upon the defendant pursuant-to state law; and in the alternative (3)
the Court permit the attorneys to voir dire prospective Jurors to discover whether
they harbor any preconceived notions regatding the consequences of a deadlock

that will prevent them from accurately and reliably weighing. the ‘evidence

presented at sentencing.

RESPECTFULLY SUBMITTED,

 

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Case 4:07-cv-00703-Y ‘Document 84-8 Filed 11/03/17 Page 50 of 144 PagelD 1890 |

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: \. = CERTIFICATE OF SERVICE

I certify that a true copy of the foregoing motion was hand delivered to the

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Office of the Tarrant County Criminal District Attorney’s office, on the date shown | a

by the clerk’s file stamp. \/
a “BILL” RAY

 

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(Footnotes) 1 It is precisely this difficulty that caused Justice Blackmun to
conclude: that the entire enterprise of seeking to make the death: penalty

Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 51 of 144 PagelD 1891 |

constitutionally acceptable was flawed. In his dissent from the Court’s d&ijial of a .

petition to grant a writ of certiorari, Blackmun declared: “From this day forward, I
no longer shall tinker with the machinery of death... It is virtually self-evident to

me now that no combination of procedural rules or substantive regulations ever can
save the death penalty from its inherent constitutional deficiencies.” Collins y. .

Collins, 510 U.S. 1141, 1145 (1994) (Blackmun, J. dissenting).
2 See generally, Garvey, Stephen P., Sheri Lynn Johnson, and Paul Marcus,
“Correcting Deadly Confusion: Responding to Jury Inquiries in Capital Cases,” 85

_ Cornell L. Rev. 627 (March 2000). In addition to this mistaken belief, one study.
"also found that “[a]bout half the Jurors incorrectly believe that a mitigating factor

must be proved beyond a reasonable doubt. Less than a third of jurors understand
that mitigating factors need only be proved to the juror’s personal satisfaction: The

great majority of jurors — in excess of sixty percent in both life and death:cases —-
erroneously believe that jurors must. agree unanimously for a mitigating

circumstance to support a vote against death.” Eisenberg, Theodore, and Martin T.

Wells, “Deadly Confusion: Juror Instructions in Capital Cases,” 79 Comelf'L. Rev.

1 (Nov. 1993).
3 85 Comell L. Rev, at 639.

4 In Roberts v. Louisiana, the Supreme Court invalidated Louisiana’s mandatory —

death penalty scheme on the grounds that it “afford[ed] no meaningful opportunity

for consideration of Mitigating factors presented by the circumstances: of the —

particular crime or by the attributes of the individual offender.” Roberts y.
Louisiana, 428 U.S. 325, 333-34 (1976). That the Sentencer must ‘have a
“meaningful opportunity” to consider mitigating factors suggests that not only may

legislatures not actively prohibit such consideration, but they also must. also take —

positive steps to foster it when necessary. . of
5 This statement of representativeness should not be taken to be an admission that

capital juries are representative of the. community. The process of death.
qualification leads to the removal for cause of conscientious objectors to the death -

penalty despite the fact that they are no less members of the community than

anyone else, as well as individuals with qualms about the death penalty who are
stricken through the use of peremptory challenges. Numerous studies have shown

that those individuals who remain are more prone to support the death penalty than-
‘the average member of society, and are also more likely to convict the defendant

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either because of their personal beliefs, or because the. extremely time ‘intensive

process of death qualification focuses jurors not upon the guilt or innocence of the —

defendant, but rather upon what penalty he deserves once his guilt has been

‘reached. .

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NO. 0885306D

THE STATE OF TEXAS Xs INTHE 213
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Ko a
VS. \ DISTRICT COURT,

on os
BILLY JACK CRUTSINGER Wo TARRANT OUNTY, TEXAS

THE COURT’S ORDER ON THE DEFENDANT’S MOTION

a TO DECLARE THE 10-12 RULE UNCONSTITUTIONAL

&

CAME UPON to be heard the Defendant’s Motion for the Court to Declare

_ the 10-12 Rule Unconstitutional. The Court, having reviewed the Motion of the

Defendant, the response, if any, and after hearing the evidence and arguments

_ thereon, and the applicable authorities, and after careful consideration, finds that

the Motion of the Defendant should be, and is hereby:

Granted, the Court declares Texas Code of Criminal Procedure
Articles 37.071(2)(d)(2), 37.071(2)(£)(2), and 37.071(2)(a)
unconstitutional; further, the Court will instruct the jury that in the
event that they are unable to answer any issue presented to them they _-
are to return the ballot without said answer, and that a life sentence

_ will be imposed upon the defendant pursuant to state law;

XA _’ Denied.

SO ORDERED. Jur. ; ‘ 7 .
DATE: ane a , |

ROBERT K.GILL ”
JUDGE

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_ BILLY JACK CRUTSINGER ra TARRANT COUNTY: TEXAS

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THE STATE OF TEXAS

VS.

 

DEFENDANT’S SUPPLEMENTAL MOTION TO QUASH THE.
INDICTMENT AND DECLARE THE DEATH PENALTY

NSTI IONAL DUE TO DISPARATE TREATMENT
TO THE HONORABLE ROBERT K. GILL, JUDGE 213TH DISTRICT COURT:
COMES NOW, the Defendant, by and through his attorneys of record,

William H. “Bill” Ray, and Tim Moore, and files this Suppplement to his Motion to

-Quash the Indictment and Declare the Death Penalty Unconstitutional Due to

Disparate Treatment, Specifically Unequal Financial Constraints and Criteria,
in the Several Counties of the State of Texas and that by such Constraints,
Causes Disparate Treatment in the Decision to Seek the Death Penalty by. the
Various Prosecuting Authorities of Persons Charged: with Capital Murder t inthe -
State of Texas, and in support thereof, would show the Court as follows: 7

On September 4, 2003, the Defendant filed the main body of the above

referenced motion. Since that time, the Defendant has received additional

information from Grayson and Caldwell counties, and that information is attached

hereto. Neither of these two counties previously responded to the Defendant’s

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‘Defendant’s Supplemental Motion to Declare Death Penalty Unconstitutional Because of Financial Disparity; Page 1

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Case 4:07-cv-00703-Y ‘Document 84-8 Filed 11/03/17 Page 54 of 144 PagelD 1894
requests.
In Caldwell County, there appears to be only one case that was prosecuted in
the time frame requested, and it appears that the State sought the death penalty.
In Grayson County, it appears that there were 9 capital murder cases filed.
Of those, three were tried, resulting in two life sentences and one acquittal: The
4 other cases were disposed without trials. The budgeting and expense data does not

distinguish between cases when the State does and does not seek the death penalty, = _ (

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however, the list of cases indicates that in most cases the State does not seek the
death penalty.
| PRAYER |
"Premises considered, the Defendant reurges his Prayer that the Court declare |
that the death penalty, as applied in this case is unconstitutional, in that j in at least 26 ©
counties in tis state, with only one and possibly two counties having a population

over 100,000, and over a five year period, the death penalty is routinely ni not t sought

by the prosecutor, based on financial reasons.

So | —
Defendant’s Supplemental Motion to Declare Death Penalty Unconstitutional Because of Financial Disparity,Page2

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Case 4:07-cv-00703-Y “Document 84-8 Filed 11/03/17 Page 55 o0f144 PagelD 1895

RESPECTFULLY/SUBMITTED,

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STATE BAR NO. 16608700
ATTO Y FOR DEFENDANT

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CERTIFICATE OF SERVICE

I certify that a true copy of the foregoing motion was hand delivered to » the
Office of the Tarrant County Criminal District Atforney’s office, on the date shown

@ by the clerk’s file stamp.
a “BILL” RAY

 

 

 

!
Defendant’s Supplemental Motion to Declare Death Penalty Unconstitutional Because of Financial Disparity, Page 3

4204.

 

 
 

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Case 4:07-cv-00703-Y ‘Document 84-8 Filed 11/03/17 Page 56 of 144 PagelD 1896

NO. 0885306D

THE STATE OF TEXAS Xs INTHE 213TH

VS. - x DISTRICT COURT OF —

BILLY JACK CRUTSINGER TARRANT COUNTY, TEXAS
THE T’S ORDER O

DEFENDANT’S MOTION TO QUASH THE INDICTMENT AND
DECLARE THE DEATH PENALTY UNCONSTII UTIONAL DUE

~. TO DISPARATE TREATME PECIFI LY AL,

\

The Court, having reviewed the Motion of the Defendant, the resporisé, if
any, and after hearing the evidence and arguments thereon, and the applicable -

authorities, and after careful consideration, finds that the Motion of the Defendant

should be, and is hereby:

Granted, the court finds that, as applied in this case, the death, |

penalty is unconstitutional in that prosecutors in counties with smaller

_ populations typically waive seeking the death penalty due to an
- unjustifiable standard, that is financial reasons.
The Court quashes the indictment in this case.

_ Denied.

SO ORDERED. | ah

DATE:

 

ROBERT K. GILL
JUDGE

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Defendant’s Supplemental Motion to Declare Death Penalty Unconstitutional Because of Financial Disparity, Page 4

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‘Case 4:07-cv- -00703- Y Document 84-8 Filed 11/03/17 Page 57 of 144 PagelD 1897 ©
_ NAME OF COUNTY _C4L2 PEL _, COUNTY SEAT _40<#k Attra

APPROXIMATE : POPULATION OF COUNTY

CAPITAL MURDER CASES WHEN THE STATE SEEKS THE DEATH

PENALTY:

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CAPITAL MURDER CASES WHEN THE STATE DOES NOT SEEK THE

 

 

 

 

 

 

 

 

 

 

 

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CAPITAL MURDER CASES WHEN THE STATE SEEKS THE DEATH
PENALTY: Pa

 

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CAPITAL MURDER CASES WHEN THE STATE DOES NOT SEEK THE

 

 

 

 

 

 

 

 

 

 

 

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CAUSE NO. 0885306D

THE STATE OF TEXAS FILED cae INTHE213TH
v. a HOM At ONT, TEX JUDICIAL DISTRICT COURT

__ BILLY JACK CRUTSINGERSEP 17 a m8 TARRANT COUNTY, TEXAS

 

 

x

 

s STATE’S RESPONSE TO DEFENDANT’S MOTION TO QUASH INDICTMENT

@ TO THE HONORABLE JUDGE OF THE 213™ JUDICIAL DISTRICT COURT:
COMES NOW the State of Texas by and through Tim Curry, the Criminal District
Attorney of Tarrant County and presents its ‘Tesponse to “Defendant’ S Motion ¢ fo © Quash

Indictment,” and would show the Court the following:

I. . Defendant Crutsinger’s motion claims disparate treatment of capital murderers.

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@ ‘In a motion filed September 4, 2003, Defendant Billy Jack Crutsinger argues that his
indictment for capital murder in the above numbered and styled case should be quashed and

Texas’ death penalty scheme should be declared unconstitutional. See generally Defendant s

  

Motion to Quash the Indictment and Declare the Death Penalty Unconstitutional etc,

(hereinafter “Defendant’s motion”). Defendant Crutsinger maintains that the decig ion to seek’ .
the death penalty 1 in Texas is disparately applied in similar cases depending on the population

of the county in which a particular capital murder is prosecuted.

 
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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 67 of 144 PagelD 1907 -
In particular, Defendant Crutsinger alleges that a district attorney in a are (more
populous) Texas county has a large budget:and is able to seek the death pehaty more’
frequently than a district attorney in a less populated, more rural county. See Defendant? s

_ motion at 2." According to Defendant Crutsinge, a defendant in a Texas county v with a targe |

 

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Texas’ less populated counties will not be at risk to receive the death penalty.

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I. The alleged facts offered by Defendant Crutsinger in support of his disp ate | an
- treatment claim. a
In support of his disparate treatment claim, Defendant Crutsinger has attached some -

data to his motion. The attachments contain certain data supplied by (1) the: Prosecutor

Assistance Unit of the Office of the Texas Attorney General, see Defendant’ s métion at Ex-

5, and (2) the 209 (out of 254) Texas counties that responded to Defendant Crutsager's s“so-

 

1 The State uses the phrase “so-called open records request” to describe the
letter(s) that Defendant Crutsinger sent to Texas counties in July 2003 because a quick .
survey of the returned forms suggests that many of the counties did not “collect[ ],
assemble[ ], or maintain{ }” the capital murder budgetary figures that Defendant . .
Crutsinger sought. It appears that many of the Texas counties who attempted to complete
the tabular form (supplied by Defendant Crutsinger) do not budget by the crime. . See, |
e.g., Defendant’s motion at Ex-12 (Falls County’s budget for 2003 budgeted $100, 000 for

civil and $100,000 for criminal); Defendant’s motion at Ex-13 (notation on information -
provided by Fannin County indicates that Fannin County does not budget capital. murder
cases separately; a part of indigent defense budget); Defendant’s motion Ex-20 (J ones”
County separates some of its budgetary data ‘into “District Attorney” and “District Judge”
columns; the “prosecution expense” line item under the “District Attorney” columnisa —

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Case 4:07-cv-00703-Y “Document 84-8 Filed 11/03/17 Page 68 of 144 PagelD 1908
Texas counties who received defendant’s letter and accompanying affidavit and tabular form, —
209 counties responded in some manner). .

Defendant Crutsinger submitted a business records affidavit and a blank tabula form

along with his letter request seeking “capital murder budgetary data.” See Defendant's

 

 

 

 

 

single total with no figure(s) given for the prosecution of any particular crime);
Defendant’s motion at Ex. 32 (Bailey County: “We do not budget expenses related to
death penalty cases separately.”); Defendant’s motion at Ex-34 (prior to 2001, indicates
that Navarro County did not track capital murder cases separately from other felony
cases); Defendant’s motion at Ex-23 (Marion County: “We have no special budget line
for capital cases.”); Defendant’s motion at Ex-24 (“Nacogdoches County does not budget
for ‘capital murder cases.””); Defendant’s motion at Ex-29 (Monahans County: “We do
~ not budget for capital murder, specifically. We only budget for indigent legal fees.”).
Furthermore, while data supplied by at least one other county (Tarrant County) does:
appear to differentiate between a capital murder prosecution and a prosecution for other
crimes, the data makes no distinction between capital murder/ death and capital murder/
life. See Defendant’s motion at Ex-34 (handwritten notation on tabular form submitted
by Tarrant County states: “The Auditor’s office can only give you information on what
has been coded by the courts as capital murder. Our system does not differentiate as to
whether the state seeks the death penalty or does not seek the death penalty.”).

“[The Texas Open Records Act (“TORA”)] compels disclosure of public
information that is in existence, but it does not require a government entity to prepare or
assemble new information in response to a request.” A & T Consultants, Inc. v. ‘Sharp,

904 S.W.2d 668, 676 (Tex. 1995) (citing TEX. GOV’T CODE § 552.021 (defining
“public information” as that “collected, assembled, or maintained” by a government
body); and Economic Opportunities Dev. Corp. v. Bustamante, 562 S.W.2d 266, 268
(Tex. Civ. App.--San Antonio 1978, writ dism’d) (ruling that a government agency could = CG
not be. required to make copies of documents no longer in its possession)). ° oO
_ “{A] governmental body is not required to organize information 1 in the form = ot
‘requested by a member of the public.” Tex. Att’y. Gen. ORD-229, 1994, WL 322535 at -
- *2 (1994); see also Tex. Att’y Gen. ORD-6150, 2003 WL 22116432 at *1 n.1 (2003) oo
(“The Public Information Act (the ‘Act’) does not require a governmental body to —
disclose information that did not exist at the'time_ the request was received, nor does it
‘require a governmental body to prepare new information i in response to a request, ”.

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Case 4: 07- -cv-00703-Y Document 84-8 Filed 11/03/17 Page 69 of 144 PagelD 1909 .

motion at Ex-4. In addition, Defendant Crutsinger asked each county to place the requested —

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“capital murder budgetary data” on the tabular form that he supplied.
Defendant Crutsinger’s form covered a period of the last five years and asked each

county to supply four different dollar amounts for each of those years: (1) the dolla amount

_.of funds. budgeted for a capital murder prosecution in which the death penalty w was as sought;

 

 

_ (2) the dollar amount of funds expended for a capital murder prosecution in which the death -

* penalty was sought; (3) the dollar amount of funds budgeted for a capital murder.

prosecution in which the death penalty was waived; and 4) the dollar amount of funds” . | { |
expended for a capital murder prosecution in which the death penalty was | Waived. |
Defendant Crutsinger claims the attached data shows “the decision to seek the deat penalty — |

is many times overshadowed and controlled by financial constraints in counties with small or . O38

rural populations.” Defendant’s motion at2.

 

I. £ven if Defendant Crutsinger’s theory was viable, Defendant Crutsinger’ S facts do-
not support his disparate treatment claim. (

With all due respect, the attached “capital murder” budgetary data is irrelevant and

meaningless. As discussed earlier, it appears that more than a few Texas counties do not

budget capital murder cases separately from other crimes. See State’s response at 2-3
‘n.1. Furthermore, Defendant Crutsinger’s notion that less populous (or more rural) | ~

counties

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 70 of 144 PagelD 1910 |

have less wealth (and thus, more financial constraints) than more populous counties is

 

speculative, at best. ‘n By

A less populois, rural county may have far more wealth (especially per capita wealth)
than one of Texas’ more populous (or metropolitan) counties. Defendant Crutsinger’s data
..does not. establish (1) .how much 3 money each county takes in, @) how much money each .

_ county holds in reserve or (3) even the entire county budget for each of the five years in

Ngnestion. Defendant Crutsinger’s data also makes no correlation in the per capita spending
© ratio between his large population and small population counties. Ifa sparsely populated
county had oil and/ or gas wells located within its boundaries, those producing oil and/or gas |
wells would generate taxable wealth. A more populous county might not have any oil and/
or gas revenues. It also stands to reason that the more populous a county, thé higher its

’ expenditures as it must provide. more services for more people.

 

In addition and even though Defendant Crutsinger recognizes that tthe decision taseek. _

the death penalty rests with the local prosecuting authority, see see Defendant’ S motion at 2, the

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data supplied by Defendant Crutsinger does not include any sworn afidavits from any

 

prosecuting authority in which the prosecutor avers that the decision not to seek the death

' penalty was based in whole (or even in part) on the county’s finances or budget.”

 

2 As the McCleskey court observed: “It is . . questionable whether any i
‘consistent policy can be derived by studying the decisions of prosecutors. The District -
- Attorney is elected by the voters in a particular county. Since decisions whether to ¢
prosecute and what to charge necessarily are individualized and involve infinite factual:
variations, coordination among district attorney offices across a State would be relatively
‘meaningless. Thus, any inference from statewide statistics to a prosecutorial "policy" is of _

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1.15, 95 L.Ed.2d 262 (1987).

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 71 of 144 PagelD 1911 .

In addition, the attached data attempts to address only one possible factor (a county’s

so-called “capital murder” budget, which as discussed earlier a lot of counties do not have,

 

see State’s response at 2-3 n.1) in a prosecutor’ s decision to seek the death penalty. There is /

no data comparing the facts and circumstances of Defendant Crutsinger and his c1 crime to the

 

'. generally Sonnier v. State, 913 S.W.2d 511, 521 (Tex. Crim. App. 1995) (Equal Protection

 

“,
Clause requires that “all persons similarly situated shall be treated alike”); cf. Black v. State

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26 S.W.3d.895, 897 (Tex. Crim. App. 2000) (capital murder defendant is not a part ofa ©

suspect class); Henderson v. State, 962 S.W.2d 544, 560 (Tex. Crim. App. 1997) (same).

 

Also, the tabular form Defendant Crutsinger submitted to gather his information :

makes suspect even the meager data supplied. Defendant Crutsinger only requested capital

murder budgetary data for the last five years — from fiscal year 1999 through fiscal year |

2003. This is a very small sample. While the form Defendant Crutsinger submitted to the

counties (when he made his “open records” request) specifically asked the counties for (1)

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the funds budgeted when the State seeks the death penalty, and (2) the funds bu dgcted when

the State waives the death penalty, a lot of Texas counties apparently do not separate (1)

capital murder/ death, from (2) capital murder/ life. See, e.g., Defendant’s motion. at Ex-12

(For. the years 1999-2002, Falls County {pop. 18, 576 in 2000} had two capital murder -

indictments filed in 2001, and budgeted funds “for all county legal aid, civil, I, eiminal

 

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doubtful relevance.” McCleskey v. Kemp, 481 U. S. 279, 295 n.15, 107 S.Ct. 1756, 1768
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onufacts. and-circumstances. of.all. the. other. + capital murder defendants’. and. their c1 crimes. See a a

 
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Case 4:07-cv-00703-Y ‘Document 84-8 Filed 11/03/17 Page 72 of 144 PagelD 1912 |
misdemeanor, felony, appeals, juvenile, investigation & prosecution”); Defendant’s motion at
Ex-13 (Fannin County, pop. 31,240, had two capital murder indictments filed in 1999 and |
one in 2001 and did not budget separately); cf. Defendant’s motion at Ex-16, (written
notation on form returned from Hood County, pop. 41,600, regarding 2003 capital murder

sec life prosecution suggests that “funds budgeted” are not determined until after the costs are . . |
billed); see also State’s response at 2-3 n.1. ~ |
Ys The figures provided for Jackson County {pop. 14,491} are a puzzle and highlight the. - | | i
© suspect nature of the capital murder budgetary data the defendant has provided. See.
Defendant’s motion at Ex-18. Jackson County shows one capital murder indictment was
filed in 1999, and another filed in 2000. Jackson County must have sought the death penalty -

in both of those cases because according to the data on the form, there were, 110 capital -

 

murder cases where the State did not seek the death penalty from 1999 through 2003. The ©
form further indicates no funds were budgeted for capital murder/ death cases during any of
the years from 1999 through 2003. However, the funds actually expended on capital murder/ |
death cases were listed as $14,682.97 in 2003, $15,806.55 in 2002, $3,505.58, in 2001;
$65,530.91 in 2000, and $257,604.55 in 1999. There is an asterisk by the $14,682.97 (the
figure given for the capital murder/ death funds expended in 2003) with a handwritten |
notation below that states “defendant accepted a plea as case was to go to trial. ‘Cost was
estimated to be $100,000. Thankfully only $25,000 was expended over two fiscal years.”

| Defendant’s motion at Ex- 18; see also Defendant’s motion at Ex-8 (Colorado County {pop. |
20,3 90} shows three capital murder indictments filed in 1999 and two more filed.in 2000, :

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but the tabular form shows “0” funds budgeted during the last five years).
_ Simply put, it is hard to make much of anything out of the capital murder, ‘budgetary
data attached to Defendant Crutsinger’s motion. Nonetheless and no matter what i it means,

. the attached capital murder budgetary data does not support Defendant Crutsinger’s

..-hypothesis,. see Defendant’s motion at.12, - that the death penalty is routinely 1 not sought by. —

 

the prosecutor based solely on financial reasons. See McQueen v. Scroggy, 99 F. 3d 1302,

333 (6th Cir. 1996) (relying on McCleskey to reaffirm that a defendant’s references to .

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statistical studies or anomalies will be insufficient to establish. a claim’ of racial

discrimination); Smith vy, Anderson, 104 F.Supp.2d 773, 821-22 (S.D. Ohio 2000) (same).

IV. Defendant Crutsinger has made no more meritorious of a showing than dia the:
unsuccessful appellants in Allen, King and Bell.

The State first points out that Defendant Crutsinger’s argument was previously raised

 

and rejected by the Court of Criminal Appeals in Allen v. State, 108 S.W.3d 281, 285-87

(Tex. Crim. App. 2003), King v. State, 953 S.W.2d 266, 274 (Tex. Crim. App. 1997), and |

 

Bell v. State, 938 S.W.2d 35, 55 (Tex. Crim. App. 1996) (per curiam).

  
 

3 :

In King and Bell, the Court of Criminal Appeals declined to reach the mu its of the

 

disparate treatment claim, holding that because the appellant provided no “emgfal data;
case law, or other factual basis” to support his claim, there was no foundation upon which

the Court could have made a determination reggiding the merits of the claim. King. 953,

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 74 of 144 PagelD 1914.

S.W.2d at 274; Bell, 938 S.W.2d at 55; see also Ibarra v. State, 11 S.W.3d 189, 198 (Tex.

 

Crim. App. 1999) (unanimous op.) (Court of Criminal Appeals rejects argument that article
37.071 is unconstititional because it allows an arbitrary and capricious application of the
death penalty, citing King for the proposition that the Due Process Clause does not require a
oe comparative proportionality review). | |

In contrast to the appellants 1 in King : and Bell, the appellant in Allen atempted to |

provid the Court with a factual basis to support his disparate treatment claim, but Mr. Allen | |
also came up short of making a threshold showing. See Allen, 108 S.W.3d at 286 (Court | 4
points out that appellant gave it information regarding the number of offenders sentenced to —
death and the number of offenders executed from each county in Texas, but he did not
provide the Court with budgetary data for each of these counties). As the Allen court
observed:

The fact that Harris County, a large county with a large budget,

sentences more offenders to death than any other county in

Texas, does not in and of itself establish disparate treatment

among similarly situated defendants.

Allen, 108 S.W.3d at 286 (footnote omitted).

In addition and as the Allen court pointed out, even Mr. Allen’s own data would not =~ :
support an argument that the size of a county’s budget was the sole determinative factorin . i
capital litigation:

_. one of the articles cited by appellant states that the “history
of ample budgets” is only one of several factors that contribute

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 75 of 144 RagelD 1915

_ to the higher number of death penalty convictions in Harris ;,_
County. See M. Tolson, A Deadly Distinction, HOUSTON at
CHRON. Feb. 5, 2001. oe i

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Allen, 108 S. W.3d at 286- 87,

The Allen court ultimately concluded that “[a]ppellant has made no threshold Id showing

OF disparate: treatment. between himself. and other similarly situated defendants.” Allen, njos =|

 

S.W.3d at 287. Like the appellant in Allen, Defendant Crutsinger has failed to make a

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“Nhreshold showing of discriminatory application, and there are a number of reasons why the

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present motion should be denied.>

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V. Defendant Crutsinger’s complaint is not even theoretically viable.

Defendant Crutsinger’s motion does not present a valid claim. While Defendant |

Crutsinger recognizes that’ ‘[t]he decision to seek the death penalty in a capital murder [case] oo

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rests with the. Prosecuting authority in the individual county,” Defendant’s motion at 2,4 he

 

hasn’t alleged, much less proven, an abuse of prosecutorial discretion.

 

3 Defendant Crutsinger has not argued his state claims separately from his _
allegations of federal violations, see Defendant’s motion at 2-12, and as a result, his state -
claims should be overruled. Lagrone v. State, 942 S.W.2d 602, 614 (Tex. Crim. App.
1997),

. 4 Here it must be remembered that a prosecutor’s decision to comnience or

‘forego seeking a death sentence is not a decision to “impose” the death sentence; rather
the prosecutor’s role is limited to initiating the. proceedings. Silagy v. Peters, 905 F. 2d:
986, 993 (7 Cir. 1990), cert. denied, 498 U. S. 1110, 111 S.Ct. 1024, 112 L. Ed. 2d 1106
(199 1). Oey

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Case 4:07-cv-00703-Y ‘Document 84-8 Filed 11/03/17 Page 76 of 144 PagelD 1916
Absent some showing that prosecutorial discretion was abused in the selection of
cases in which the death penalty was sought, there is no claim under the Eighth Amendment
or the Equal Protection Clause. See Commonwealth v. Hardoastle, 546 A.2d 1101, i 11 (Pa. |

1988). The United States Supreme Court has held that a state statute is not inva! id for the -

 

.....diseretion. it accords. the. Prosecutor in. 1 deciding whether to seek the death penalty ina | _

 

. particular case. Proffitt v. Florida, 428 US. 242, 254, 96 S.Ct. 2960, 2967, 49 L.Bd.2d 913
“Y1976) (rejecting argument that prosecutor’s authority to decide whether to charge capital -
@ offense in the first place and whether to accept plea to lesser offense renders Florida’s death
penalty scheme unconstitutional); Gregg v. Georgia, 428 U.S. 153, 199, 96 S.Ct. 2909, 2937,
49 L.Ed.2d 859 (1976) (holding prosecutorial discretion to seek death penalty constitutional);
see generally McCleskey_v. Kemp, 481 U.S. 279, 311-12, 107 S.Ct. 1756, 1777- 78,95 - | . i
L.Ed.2d 262 (1987) (“the capacity of prosecutorial discretion to provide individualized
justice is ‘firmly entrenched in American law" and “a capital punishment system that did not
e allow for discretion acts of leniency would be totally alien to our notions of criminal. * ; |
justice’”); McCleskey, 481 U. S. at 289-90; 107 S.Ct. at 1765 (“The very exercise of | | - |
discretion means that persons exercising discretion may reach different results from exact.
duplicates. Assuming each result is within the range of discretion, all are correct in the eyes | . a :
of the law.”). As the Simms court observed: - . ' — | : : ;
We have repeatedly rejected the argument that the Illinois death | ae |
penalty statute is unconstitutional because of the discretion it |
gives the prosecutor in deciding whether to seek the death : oy
penalty in a particular case. Furthermore, the very fact thatthe | oe
prosecutor is afforded a measure of discretion under the death ; : a - |

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 77 of 144 PagelD 19

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penalty statute entails that the prosecutor will seek the death

penalty in one case and not in another. The prosecutor may

decide to do so based upon the strength of the evidence, the

circumstances of the crime, the accused’s rehabilitative

potential, the availability and credibility of witnesses, and any
_ humber of legitimate factors.

 

Feople V. Simm s, 736 N.E.2d 1092, 1139 (Ill. 2000) (citations omitted).

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‘Defendant Crutsinger does n not t demonstrate, or for that matter even allege, hw

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‘ “prosecutorial discretion was abused in the selection of capital murder c cases in which the

death penalty was sought. Hardcastle, 546 A.2d at 1111. Moreover, Defendant Crutsinger -

 

has not alleged, much less “prove[n,] that the decisionmakers in his case acted with

discriminatory purpose.” McCleskey, 481 U.S. at 292, 107 S.Ct. at 1767, 95 L.Ed.2d at278 |

- (emphasis in the original); People v. Stewart, 520 N. E. 2d 348, 355 Cill. 1988) (‘defendant

made no attempt to prove that he received the death penalty because the decisionmakers in

 

his case were motivated by racial bias”); see also McCleskey, 481 U.S. at 313, 107 7 S.Ct. at

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1778, 95 L. Ed. 2d at 292 (Court assumed validity of Baldus study and concluded that it “does

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_ not demonstrate a constitutionally significant risk of racial bias affecting the Georgia capital-

sentencing process”).°

 

. 5 - “According to the Baldus study, after controlling for nonracial variables,
defendants accused of murdering white victims are 4.3 times more likely to receive the —

death penalty than those accused of murdering blacks.” Stewart, 520 N.E.2d at’ 355; see ~

‘also McCleskey, 481 U.S. at 291 n.7, 107 S.Ct. at 1766 n.7 (McCleskey court cautions
that its “assumption that Baldus study is statistically valid does not include the®:
assumption that racial considerations actually enter into any sentencing decisions i in

Georgia’ ), a

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 78 of 144 PagelD 1918 :

Defendant Crutsinger has offered no evidence that Tarrant County’s (or-any other | ok i
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Texas county’s) charging decisions in death penalty cases were motivated by, improper
considerations rather’ than by the facts of these intensely fact-specific cases. _ See, e.£.,

Simms, 736 N.E.2d at 1139 (“Defendant has failed to supply this court with evidence thatthe

 

_.. State’s Attorney acted improperly in seeking the death penalty against him. Absent such

proof, we will not assume that the State's Attorney's decision in seeking the death penalty :

: ”Yygainst defendant was ‘based on whim or caprice or otherwise invoke[d] impermissible =
@ considerations”); Commonwealth v. Crews, 717 A.2d 487, 489 (Pa. 1998) (absent some
showing that prosecutorial discretion was abused in selection of cases in which death penalty
was sought, claim that death penalty disproportionately applied to poor lacks, necessary |
foundation and is, therefore, meritless). | -
Finally, Defendant Crutsinger’s thesis ignores the fact that the Texas Attorney
General is available to aid counties which might feel they lack the financial wherewithal to |
e seek the death penalty in an appropriate case. Allen, 108 S.W.3d at 286 n3 (“the Capital
Litigation section of the Texas Attorney General’s office exists especially to aid smaller

counties in prosecuting capital cases,” and quoting Bell, 938 S.W.2d at 55 n.3 1):

VI. _ The decision of whether to seek the death penalty is vested in the broad discretion |
of the prosecutor’s office: absent an irrational exercise of that discretion a claim .
of disparate treatment between counties could never be a basis for relief. , -

 

6 - Obviously an exercise of prosecutorial discretion that was based upon an
infringement of the rights ofa suspect class would be a material for which relief could be
granted; but such considerations have nothing to, do with Defendant Crutsinger’s claims.

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In both the Texas and federal criminal justice systems, the decision whether to

prosecute an individual is vested with the government.’ See, e.g., Wayte v. United States,

470 U.S. 598, 607, 105 S.Ct. 1524, 1530, 84 L.Ed.2d 547 (1985); United States v. Sparks, 2

 
 

well-settled that the discretion accorded the state in a capital murder prosecution is not

 

\inconstitutional); Roise v. State, 7 S.W.3d 225, 243 (Tex. App.--Austin 1999, pet. ref'd); cf

Patrick v. State 906 S.W.2d 481, 495 (Tex. Crim. App. 1995) (rejecting contention that

 

Texas’ capital sentencing scheme is unconstitutional because the discretion 3 whether to
pursue the death penalty rests with the prosecutor, and citing Gregg v. Georgia, 428 USS. at .
199, 96 S.Ct. at 2937). The broad discretion afforded a prosecutor ° ‘rests largely on: the.
recognition that the decision to prosecute is particularly ill-suited to judicial Teview. Wayte, —

470 U.S. at 607, 105 S.Ct. at 1530; see United States v. Armstrong, 517 U.S. 456, 465, 116

 

State v. Creech, 966 P.2d 1, 22 (Idaho 1998) (convicted capital murderer was not a

- member of a suspect class and thus, rational relationship test applied to his claim that he.
was denied equal protection because he was prosecuted in an Idaho county that had
sufficient funds to seek the death penalty, as opposed to a smaller county which would -
not have sought the death penalty for financial reasons; Idaho Supreme Court ultimately
rejects disparate treatment claim because the prosecutor’s decision to seek the death
penalty and the district court’s decision to impose the death penalty were both acts within
their sound discretion, and the legitimate state. purpose in seeking or imposing t the. death.
penalty stemmed from the circumstances of the offense and the offender).
, 7 See generally Cunningham v. Thompson, 62 P.3d 823, 845-46 (Or. App.
2003) (rejecting argument that equal protection clause requires state-wide standards for
charging and sentencing decisions, while holding Bush v. Gore, 531 U.S. 98, 121 S.Ct.’

 

525 (2000) inapplicable “because, unlike the'statewide ballot-counting process at issue in |

[Bushl. charging decisions are made on the local level”).

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... F,34.574,.580 (Sth Cir.1993); Ladd v, State, 3 S.W.3d 547, 574 (Tex. Crim. App. 19 9) itis . _ _ .

4965.

 
Case 4:07-cv-00703-Y “Document 84-8 Filed 11/03/17 Page a0 of 144 PagelD 1920 |
S.Ct. 1480, 1486, 134 L.Bd.2d 687(1996). | nat
A prosecutor 1 must be allowed to exercise .e broad discretion to determine the extent of :
society’s interest in a given prosecution, Loveless v. State, 800 S.W.2d 940, 947 I ex. App.-- |
Texarkana 1990, pet. ref'd), The Court of Criminal Appeals has said, “{p]rosecutorial | .
~ - discretion i is:broad,..-although. not. exempt from constitutional restraints .... In order to
. succeed in a claim of abuse of prosecutorial discretion, an . . . appellant must provide
| ‘exceptionally clear evidence’ the decision to prosecute was for an improper reason.”
@ County v. State, 812 S.W.2d 303, 308 (Tex. Crim. App. 1989) (op. on reh’g) (holding no
abuse of prosecutorial discretion was shown; appellant brought forth no evidence indicating
the existence of purposeful discrimination). |
Defendant Crutsinger must make outa claim of abuse of prosecutorial discretionif he .
has any hope of prevailing on his equal protection challenge. The United States Supreme
Court has established clear guidelines in determining the limits of allowable prosecutorial
@ discretion. Prosecutorial discretion is broad, although not exempt from constitutional
restraints. Wayte V. United States, 470 U.S. 598, 608, 105 S.Ct. 1524, 1531, 84 L.Ed.2d
547, 556 (1985). “The decision to prosecute may not be deliberately based upon
“unjustifiable standards such as race, religion, or other arbitrary classification, - . 2 Wayte,
470 USS. at 608, 105 S.Ct. at 1531, quoting Oyler v. Boles, 368 U.S. 448, 456, 82 1 S.Ct 501,
505, 7 L.Ed.2d 446 (1962). In applying these standards to the case at hand, courts must :
| assume that an appellant who raises the issue of equal protection has the burden of proving
‘what the Supreme Court has termed “the ‘existence of | purposeful discrimination.”

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 81 of 144 PagelD 1921 |
McCleskey, 481 U.S. at 292, 107 S.Ct. at 1767 (quoting Whitus v. Georgia, 385 US. 545, .
550, 87 S.Ct. 643, 646, 17 L.Ed.2d 599, 603-04 cs67* /

In order to succeed in a claim of abuse of prosecutorial discretion, an appellant must

provide “exceptionally clear evidence” that the decision to prosecute was for an improper -

 

> Feggon: Mc€leskey::481-U.S:-at-297,-107.S. Ct. -at.1770... As mentioned. earlier, See State’s oo. -

_ response at 12, Defendant Crutsinger has 1 not alleged, much less “provefn] ‘that the

Nevisionmakers in his case acted with discriminatory purpose.” McCleskey, 481 U. s. at 292,

167 S.Ct. at 1767, 95 L.Ed.2d at 278 (emphasis i in the original).

 

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8 “A corollary to this principle is that a criminal defendant must prove e that :
the purposeful discrimination ‘had a discriminatory effect’ on him.” MoCleskey, 4! 481
USS. at 292, 107 S.Ct. at 1767. y
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Case 4:07-cv-00703-Y Document 84-8 — Filed 11/03/17 Page 82 of 144 PagelD 1922 |
Vil. A motion seeking the quashal of a capital murder indictment is not an appropriate

method for Defendant Crutsinger to challenge the constitutionality of the Texas
death penalty. scheme.

Finally, by filing a motion to quash the indictment, Defendant Crutsinger is seeking to

avoid far more than the imposition of the death penalty. By filing a motion to 0 quash the

 

indictment, Defendant - Crutsinger is seeking t to y avoid prosecution for capital murder. ‘Inthat ~~

‘ *~ light, Defendant Crutsinger has not alleged, nor could he seriously argue, that he could not.

\

@ be prosecuted for capital murder if the prosecuting authority had decided to waive the death —

 

penalty. (Note: Neither the indictment in this case (nor any other ‘capital murder case
mentions the death penalty.) Under these circumstances, quashal of the instant capital
murder indictment is not the appropriate method for Defendant Crutsinger to challenge the.

constitutionality of Texas’ death penalty scheme.

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Case 4:07-cv-00703-Y Document 84-8 - Filed 11/03/17 Page 83 of 144 PagelD 1923 . .
PRAYER
For all the aforementioned reasons, Defendant’s Crutsinger’s claim of discriminatory
application of the Texas death penalty should fail. The State of Texas prays’ that the
Defendant’s motion to quash indictment and declare the death penalty unconstitutional, etc. -
ne rere - evap wena
\ Respectfully submitted,
Ns :
\
‘, TIM CURRY
. Criminal District Attorney ~ ‘
Criminal District Attorney
State Bar No. 09167800
401 W. Belknap Street on |
Fort Worth, Texas 76196-0201 its Gg
(817) 884-1687 an ns
| FAX (817) 884-1672 | oA
CERTIFICATE OF SERVICE
One copy of the State’s Response to Defendant’s Motion to Quash Indictment was hand
delivered to Bill Ray and Tim Moore, attorneys of record“for the Defendant Billy Jack —
Crutsinger on this the [Te aay of Septem . “

 
  

  

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MICHELE HARTMANN
Cratsinger, BJ.response.motoquash.091703.word |

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 84 of 144 PagelD 1924
CAUSE NO. 0885306D
THE STATE OF TEXAS | IN THE 213™"
VS. : JUDICIAL DISTRICT COURT
BILLY JACK CRUTSINGER - TARRANT COUNTY, TEXAS
- COURT'S ORDER ON DEFENDANT'S MOTION TO QUASHINDICTMENT =
AND SUPPLEMENTAL MOTION TO QUASH INDICTMENT OS
aN The Court, having reviewed the Motion of the Defendant, and the State’s Response,
_ and after hearing the evidence and arguments thereon, and considering the applicable
© - authorities finds that the Motion of the Defendant should be and is hereby: .
Granted_ |
Denied 2
Date: al, ( ¢/ o> “
HON. ROBERT K. GILL
Judge Presiding - ; !
© : . 213" Judicial District Court Ue
Tarrant County, Texas a
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| Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 85 010M baa Oo
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NT Coun;

CAUSE NO. 0885306D SEP 18 2093

THE STATE OF TEXAS
VS.

BILLY JACK CRUTSINGER

 

a -

JUDICIAL DISTRICT COURT Deputy .

TARRANT COUNTY, TEXAS

NOTICE TO DEFENSE REGARDING SUBPOENED/SWORN WITNESS(ES)-

The following listed individuals have been previously subpoened and/or sworn by the
Court for possible appearance as witnesses on behalf of the State of Texas:

‘ Loretta Rouse

Carol Ann Lain -

~ Cheryl Moffett

Officer George Simpson

Officer Pete Contenta

Officer Clemente Garcia, III
Officer (Ret.) Clemente Garcia, Jr.

These witnesses may or may not be called

 

on behalf of the State. If any of the above

‘witness’ testimony is desired on behalf of the Defendant, the Defendant, as provided by

law, may compel any witness’ attendance in court by relying on either the previously
issued and served subpoena and/or the witness being sworn byt -

I certify that a true and correct copy of the

~ Subpoened/ Sworn Witness(es) was hand d

of record for the Defendant on the 18" da

      

ourt.

 
 
 
   

Michéte Hartmann, Assistant
Criminal District Attorney
Tarrant County, Texas

foregoing Notice to Defense Regarding .
elivered to Bill Ray and Tim Moore, attorneys
of September, 2003.

 
Case 4:07-cv-00703-Y }RpCOMATB4F AEX ABGO3/17 Page 86 of 144 PagelD 1926.

TO DEE ANDERSON SHERIFF OF TARRANT COUNTY, TEXAS, GREETINGS:

On this day, september 18, 2003, it appearing to the Court that there is now petiding on
the docket of this Court, a certain case entitled the STATE OF TEXAS vs. BILLY JACK
CRUTSINGER, being Cause No. 0885306D, where said defendant is charged with the offense of —
_ CAPITAL MURDER; and i

WHEREAS, said case has been set down for trial on n SEPTEMBER 22, 2003; and
WHEREAS, it further appearing to the Court, that WITNESS, HARVEY TURNER,

“TaR# 01174063), is now confined in IDTDCJ - LINDSEY UNIT, JACK COUNTY, TEXAS, and
t therefore, a necessity exists for the issuance of a Bench Warrant for said Witness, F HARVEY
RNER ; . .

THEREFORE, it is ordered by the Court that the issuance of a Bench Warrant for the said |

WITNESS, HARVEY TURNER, be and is hereby granted, and : ~

THEREFORE, you the said Dee Anderson, Sheriff of Tarrant County, Texas, are hereby
directed to call upon the proper authorities in IDTDCJ - LINDSEY UNIT, JACK ‘COUNTY,
TEXAS, for permission to take the body of said WITNESS, HARVEY TURNER, and safely convey
him/her to the County Jail of Tarrant County, Texas, at Fort Worth, Texas, and that you safely —

 

 

keep him/her in said jail until further orders of the Court herein are made and entered.

Due return make of this writ on or about SEPTEMBER 22, 2003, showing how wv you have

6”. the same. ,
Given under my official’ hand and seal of said Court at Fort Worth, Texas, on this date of
September 18, 2003. -_

Paw Ma —.

 

PRESIDING JUDGE \
213th DISTRICT COURT i
TARRANT COUNTY, TEXAS _, i oe
ATTEST: | ae .
THOMAS A. WILDER
Clerk of District Courts . *

Tarrant blone Io

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Case 4:07-Cv- -00703- Y ool lHEEATE t XAS, Page 87 87 of 144 ‘Pagel 19: 1927 — .

_ TO DEE ANDERSON SHERIFF OF TARRANT COUNTY, TEXAS, GREETINGS: .

On this day, Séptember 18, 2003, it appearing to the Court that there is now pending on
the docket of this Court, a certain case entitled the STATE OF TEXAS vs. BILLY JACK
CRUTSINGER, being Cause No. 0885306D, where said defendant is charged with the offense of”

- _ CAPITAL MURDER; and

WHEREAS, “said case has been set down: for’ trial-on-SEPTEMBER.26, 2003;. and.

WHEREAS, it further appearing to the Court, that WITNESS, KEVIN ELISHA: STEPHEN, ,

(ID#913337), is now confined in IDTDC] - - POWLEDGE UNIT, ANDERSON COUNTY, TEXAS,

and that, therefore, a necessity exists for the issuance of a Bench Warrant for said “Witness,

HARVEY TURNER ;

2 £

THEREFORE, it is ordered by the Court that the issuance of a Bench Warrant’ for the said

WITNESS, KEVIN ELISHA STEPHEN, be and is hereby granted, and

THEREFORE, you the said Dee Anderson, Sheriff of Tarrant County, Texas, are re hereby
directed to call upon the proper authorities in IDTDC] - POWLEDGE UNIT, ANDERSON
COUNTY, TEXAS, for permission to take the body of said WITNESS, KEVIN ELISHA STEPHEN,

and safely convey him/her to the County Jail of Tarrant County, Texas, at Fort Worth, Texas, and
that you safely keep him/her in said jail until further orders of the Court herein are made and

entered.

Due return make of this writ on or r about SEPTEMBER 26, 2003, showing how you have

executéd the same.

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Given under my official hand and seal of said Court at Fort Worth, Texas, on this date of

Lanny

PRESIDING JUDGE :
213th DISTRICT COURT he
TARRANT COUNTY, TEXAS -

“ATTEST: - i -

September 18, 2003.

THOMAS A. WILDER. af :

Clerk of District Courts
Tarrant County, Texas

» bhbeoe\n

Deputy District Clerk

  

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THE STATE OF TEXAS | oe
Case 4:07-cv-00703-Y Document 84-8" Filed 11/03/17 Page 88 of 144 PagelD 1928

TO DEE ANDERSON SHERIFF OF TARRANT COUNTY, TEXAS, GREETINGS:

On this day, September 18, 2003, it appearing to the Court that there is now pending on
the docket of this Court, a certain case entitled the STATE OF TEXAS vs. BILLY JACK . .
CRUTSINGER, being Cause No. 0885306D, where said defendant is charged with the offense of
CAPITAL MURDER; and | a a

“WHEREAS; said’ case has been:set down- for: trial.on- SEPTEMBER 26, 2003; and.

 

eRe RR TT nD

WHEREAS, it further appearing to the Court, that WITNESS, KEVIN ELISHA STEPHEN,
(ID#913337), is now confined in IDTDCJ - POWLEDGE UNIT, ANDERSON COUNTY, TEXAS,

x

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‘ind that, therefore, a necessity exists for the issuance of a Bench Warrant for said’ Witness,
HARVEY TURNER ;

THEREFORE, it is ordered by the Court that the issuance of a Bench Warrant for the said
WITNESS, KEVIN ELISHA STEPHEN, be and is hereby granted, and oo
THEREFORE, you the said Dee Anderson, Sheriff of Tarrant County, Texas, are hereby i :
directed to call upon the proper authorities in IDTDCJ - POWLEDGE UNIT, ANDERSON —
COUNTY, TEXAS, for permission to take the body of said WITNESS, KEVIN ELISHA STEPHEN,
and safely convey him/her to the County Jail of Tarrant County, Texas, at Fort Worth, Texas, and
that you safely keep him/her in said jail until further orders of the Court herein are made and
entered.

Due return make of this writ on or about SEPTEMBER 26, 2003, Showing how: you have
© executed the same.

Given under my official hand and seal of said Court at Fort Worth, Texas, on this date of

 

 

  
   
 

 

September 18, 2003.
VOU: y/ |
PRESIDING JUDGE .
213th DISTRICT COURT _ -
: a TARRANT COUNTY, TEXAS . | *
-ATTEST: _ ag .
THOMAS A. WILDER S&S.
Clerk of District Courts _ Nw w
Tarrant County, Texas BP oS a"
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‘Deputy District Clerk ea oe A
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_ Case 4:07-cv- -00703- Y Document 84-8. Filed 11/03/17 Page 89 of lg

- NO. 0885306D ) Sep » nT PR coe a

THE STATE OF TEXAS X INTHE213TH jim 22
e y ——_ SCAM

VS. , \ DISTRICT COURT OF oft
a M | | Dopuy |

BILLY JACK CRUTSINGER . TARRANT COUNTY, TEXAS —
DEFENDANT’S MOTI L |

 

TO THE HONORABLE ROBERT K. GILL, 213TH DISTRICT COURT: _

COMES NOW, the Defendant, by and through his Attorneys of record, William 1. “Bill”
\
Ray, and Tim Moore, and requests this Court to instruct the State of Texas, and to further have

@ State of Texas inform its witnesses in this case to not comment ‘on, allude to, refer t. to: ‘show or

display in the presence of, or mention to the jury or in its presence, whether as a prospective panel

 

or the jury selected to hear the case, either in the voir dire or any other part of the case, including

arguments, at the guilt/innocence or punishment phase of the trial, any of the following matters: |

 

1, That the Defendant has filed any motion in limine.
erento «a wi
2. Any. act of misconduct on the part of the Defendant or any defensive witness.
3. Any reputation or opinion evidence, whether pursuant to Rules 405, 608, or 701-705 of |

@ Texas Rules of Evidence, prior to the Defendant being afforded the opportunity to voir ir dire

the witness outside the jury’s presence.

4. | Rebuttal evidence concerning the character of the Defendant, pursuant to Rule 404,

Texas Rules of Evidence.

5. Any written statement of any State’s witness which would not be admissible except in oo
CTOSS examination, or otherwise as a matter of right. oF

6. Any videotape of any witness or the Defendant.

7. _ Photographs not previously shown to counsel.

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Case 4:07-cv-00703-Y Document 84-8 “Filed 11/03/17 Page 90 of 144 PagelD 1930 ~

8. The fact that the Defendant has filed any pretrial motion, including a motion to.prohibit
separation of the jury during deliberations.
9. Any criminal conviction of any witness that the State believes is admissible for o
impeachment pursuant to Rule 609, Texas Rules of Evidence, including the Defendant.
10. The fact that the e Court has ruled in any manner on 1 aly defense motion, o incinding but.
not not limited to to the Court’ s ruling that the Defendant’s s arrest was as illegal. eee
“ ‘. ~ 1. Any evidence that would be included in the victims’ impact statements, or relative’s or

friend’s statements that do not relate to the factual allegations in the indictment. Evidence or

"how this case has effected relatives or friends is not relevant at the guilt/innocence phase of the
trial.
12. | _ Any evidence of backgrounds or prior experiences of any witness that is not relevant to
the facts of this case, that would only be such as to create sympathy in the State’s case.
Specifically, the State has listed Ms. Betty Marshall of the State’s Prosecuting some Office
is s the widow of Chris Marshall, who was killed in the Tarrant County Courthouse on July 2,
1992. The Defendant would object to this fact, or any other one like it from any other. ‘vines, in

_ that is not relevant testimony. | |

13. Any recording that the Court has not previously ruled admissible. Specifically, this would
be the statement of the Defendant to Detective McCaskill, and 911 calls. Further, the Defendant |
“requests that the State not be allowed to bring into ‘the courtroom any reproduction equipment "
‘ such as tape detks, or VCR’s that would indicate that there i is any such recording evidence until.

such time as the Court has ruled that any such retordings shall be admitted.

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 91o0f144 PagelID 1931 .

PRAYER
WHEREFORE, PREMISES CONSIDERED, the Defendant Prays that the Court grant

this motion.

 

 

WILLIAM H/“BILL” RAY
STATE B - 16608700
ATTORNEY,OR DEFENDANT

 

LAW OFFICE OF WILLIAM H. “BILL” RAY, P.C. —
5041 AIRPORT FREEWAY
5 o FORT WORTH, TEXAS 76117
(817) 831-8383
7 (817) 831-8306, FAX
@ “WHERE THE WEST BEGINS”

CERTIFICATE OF SERVICE
This is to certify that a true and correct copy of the foregoing motion was hand delivered -

to the Tarrant County Criminal District Attorney's Office on the date shown by the Clerk's file
stamp.

 

WILLIAM H/|BILL" RAY
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- Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 92 of 144 PagelD 1932

NO. 0826201D

THE STATE OF TEXAS _ INTHE 213TH DISTRICT,
VS. oe COURT

KENNETH ELLIS - TARRANT COUNTY, TEXAS

_... THE.COURT’S.ORDER ON THE __.
EFENDANT’S MOTION IN L

: \ Came upon to be heard the foregoing Motion in Limine.’ The Court, after reviewing the 7
\
motion, finds that it should be, and the same js‘hereby granted or/denied as indicated.

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SO ORDERED.

 

DATE: 4 haf

 

ROBERT K. GILL, JUDGE .
213TH DISTRICT COURT
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_ Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 93 of 144 PagelD 1933

fn

  

CAUSE NO. 0885306D
THE STATE OF TEXAS x IN THE DISTRICT COURT
VS. OS xX -TARRANT COUNTY; TEXAS
. | , rte Dist CLERK
BILLY JACK CRUTSINGER X-- - 943TH TUDICTAVON SA AER, TEXAS .
a COURT'S CHARGE SEP 25 2003
- MEMBERS OF- THE JURY: | . ‘

   

The defendant, Billy Jack Crutsinger, stands charged by indictment with the offense of .

*vapital murder, alleged to have been committed on or about the 6th day of April, 2003, in Tarrant |
@ County, Texas. To this charge the defendant has pleaded not guilty. i
You are instructed that the law applicable to this case is as follows:
I...
A person commits the offense of murder if he intentionally causes the death of an individual.
A person commits the offense of capital murder if he commits murder as defined above and |
the person murders more than one person during the same criminal transaction.
| il.
@ "Act" means a bodily movement, whether voluntary or involuntary and includes speech.
"Individual" means a human being who has been born and is alive.
"Criminal transaction" means a continuous and uninterrupted chain of conduct occurring over
a very short period of time in a rapid sequence of unbroken events. |
Ul.
A person acts intentionally, or with intent, with respect to a result of his conduct when itis - ®
. his conscious objective or desire to cause the result, °

You are instructed that voluntary intoxication is not a defense to the commission of a crime.

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, Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 — Page 94 0f 144 PagelD 1934 © :

Iv.

Now bearing in mind the foregoing instructions, if you believe from the evidence beyond a
reasonable doubt that on or about the 6th day of April, 2003, in Tarrant County,” Texas, the . :
- defendant, Billy J ack (Crutsinger, did then and there intentionally cause the death of:an. individual,
"Patricia Syren, by stabbing or cutting her with a L knife and did then and there intentionally ca cause the | -
death of an individual, Pearl Magouirk, by stabbing or cutting her with a knife and: both murders

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were committed during the same criminal transaction, then you will find the defendant guilty of.

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capital murder as charged in the indictment.
Unless you so find beyond a reasonable doubt, or if you have a reasonable doubt thereof, you

will find the Defendant not guilty. | . cane

 

You are further charged as a part of the law in this case that the State is not required to prove
the exact date alleged in the indictment but may prove the offense, if any, to have been committed at.
any time prior to the presentment of the indictment. |

The jury is instructed that the Court has taken n judicial notice that the date the’ indictment i in (
this case was presented was June 19, 2003. There i is no statute of limitations for the offense charged
in the indictment. a

The j jury is further instructed that it may, but is not required to, accept as conclusive the fact
judicially noticed. | Lo —— “

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In a criminal case the law permits a defendant to testify in his own behalf but he is not

compelled to do so, and the same law provides that the fact that a defendant does not testify shall not —

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Case 4:07-cv-00703-¥ Document 84-8 Filed 11/03/17 Page 95 of 144 PagelD 1935

be considered as a circumstance against him. You will, therefore, not consider the fact that the .
defendant did not testify as a circumstance against him; and you will not, in your retirement to. .
consider your verdict, allude to, comment on, consider, or in any manner refer to the fact that the
defendant has'not testified.

VIL. .

You are instructed that under our law no evidence obtained by an officer in violation of any - .

provisions of the Constitution or laws of the State of Texas, or of the Constitution or laws of the .
\ .
United States of America, shall be admitted in evidence against the accused on the trial of any

criminal case. It is an exception to this law that the evidence was obtained by a law enforcement

officer acting in objective good faith reliance upon a warrant issued by a neutral magistrate based on .

probable cause.

Probable cause means that the facts and circumstances within the officer's knowledge and/or
within the knowledge of other officers working with him and of which they have’ reasonably
trustworthy information are sufficient unto themselves to warrant a person of reasonable caution to |
believe that an offense has been or is being committed.

In order for a law enforcement officer to search a person under a search warrant,the warrant .

1 ¥B

must be supported by an affidavit showing probable cause for the search of the person. Ifapersonis —-

searched under a warrant that is not supported by probable cause, any evidence obtained as a result -
of the search is unlawfully obtained and cannot be considered by the jury in the trial of the person's
case.”

In order for an officer to make a valid warrantless arrest, a peace officer must'have probable :

cause to believe that the person has committed an offense in his presence or within‘his view: Ifa .
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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 96 of 144 PagelD 1936

person is arrested without probable cause, any evidence obtained as a result of the- arrest of the -
person is unlawfully of obtained and cannot be considered by the jury in the trial of the person's case.
However, evidence obtained from a person after an illegal arrest may nonetheless be.

considered by the jury if the jury finds that the State has demonstrated beyond a reasonable doubt |

_ that the t taint of the ¢ illegal arrest, if any, iS s sufficiently attenuated to render T any resulting evidence

t.

free of said taint. The factors | to o be considered by the j jury to decide if the taint of an illegal arrest, if

~Y, is sufficiently attenuated are as follows: 1) whether the Miranda warnings were given to the
person; 2) the proximity in time of the illegal arrest to the evidence obtained; 3) the-presence of —
intervening circumstances; and 4) the purpose and flagrancy of any official misconduct, :

Therefore, unless you find from the evidence beyond a reasonable doubt, or. if you have a ;
reasonable doubt thereof, that a search warrant upon which the. Defendant was searched contained |
sufficient probable cause for the search of the Defendant, you will disregard any evidence obtained .
as a result of the execution of the search warrant and not consider the same against the Defendant for =
any reason. |

Therefore, unless you find from the evidence beyond a reasonable doubt, or if you have a

reasonable doubt thereof, that the arrest of the Defendant was legal, you will disregard any evidence | ot
obtained as a result of the arrest of the Defendant and not consider the same against the Defendant :
for any reason. However, if you find beyond a reasonable doubt that the taint of the illegal arrest of - |
the. Defendant, if any, is sufficiently attenuated to render the evidence legally obtained, you may |
consider the evidence against the Defendant for the purpose of considering whether he’ is guilty of
‘the offense charged against him in the indictment. - : é

However, if you do not find beyond a reasonable doubt, or you have a reasonable doubt |

_ o«

- thereof, that the taint of the illegal arrest, if any, was sufficiently attenuated, then you will disregard —

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_ Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 97 of 144 PagelD 1937
any evidence obtained as a result of the arrest of the Defendant and not consider the same against the
Defendant for any reason.
Vil.
All persons are presumed to be innocent, and no person may be convicted of an offense : ;

unless each clement of the offense is proved beyond a reasonable doubt. The fact that the defendant

 

 

has been arrested, confined, or indicted for or - otherwise charged with the offense gives rise to no eee

*s inference of guilt at the defendant's trial.

\

 

The indictment in this case is no evidence whatsoever of the guilt of the defendant Itisa

e@ mere pleading necessary in order to bring this case into Court for trial, and you will consider it for no

 

purpose at all.

You are the exclusive judges of the facts proven, of the credibility of the witnesses and of the.
weight to be given to their testimony, but you are bound to receive the law from the Court, which is
herein given, and be governed thereby.

Any further communication must be in writing by your foreperson through the bailiff to the -

 

Court, except: as to your personal needs which may be communicated orally to the bailiff in charge.
© After you retire to the j jury room, you should select one of your - number as your foreperson. -
It is his or her duty to preside at your deliberation, vote with you, and when you have unanimously .

agreed upon a verdict, to certify to your verdict by u using the appropriate form and signing the same.

Bob Gill, Judge ‘ . °
213th Judicial District Court -

as your foreperson.

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 98 of 144 PagelD 1938 |
VERDICT FORMS :
We the Jury find the Defendant guilty of the offense of Capital Murder as charged in the :
indictment. ;
\ | _ -OR-
We the Jury find the Defendant not guilty. _ . ot
Foreperson

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 99 of 144 PagelD 1939

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THOMAS A. WILDER, DIST. CLERK
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_... MEMBERS OF THE. JURY:

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provides that if. the jury disagrees as to the statement - “of any

witness. they may, upon applying to the court, have read:‘to them

‘from the court reporter's notes that part of . such witness'

-testimony or the particular point in dispute and no other.

Therefore, you are instructed if you desire to have any

testimony read to you, to notify the Court in writing of the
particular part or parts of the witness' testimony and let the

‘Court know that - you are in dispute as to that point.

- JUDGE PRESIDING

. Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 101 of 144 PageID1941_ :

\ In Tesponse ‘to your request, you are instructed that the law
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'- Case 4:07-cv-00703-Y Document 84-8 Filed.11/03/17 Page 102 of 144 PagelD 1942 —

 

 

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: main COUNTY, TEXAS

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Case 4:07-cv- 00703- Y Document 84-8 Filed 11/03/17 Page 1 103 3 of | 144 Pagel 943 ©

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CERTIFICATE OF PROCEEDINGS

(CASE: 0885306 DATE: 4, M602 DOCKET: O885306D ~ CID: 00014683

 

 

DEFENDANT: CRUTSINGER,BILLY JACK | WARRANT:

MICRO:  ~ 7 INDICTED: Y DATE: 06/19/03
COURT: D213 ' HEARD: | TRANSFER COURT:
“CHOV: — /_ 7. «I/O: COUNTY: ni

 

CHARGE OFFENSE: 090107 CAPITAL MURDER-MULT VICT DATE: 04/06/03 LSR INC:

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"DISPOSITION OFFENSE:

 

 

 

 

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CERTIFICATE

“ASE: 0885304 DATE: Gidbr 0B

JEFENDANT: CRUTSINGER,BILLY JACK

 

OF PROCEEDINGS

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Filed 11/03/17 Page 104 of 144 PagelD 1944

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DOCKET: OB853046D CID: 0001683
WARRANT: ae
INDICTED: Y DATE: 06/19/03

TRANSFER COURT: ;

 

4ICRO: CRUTSINGER,BILLY Jack
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CHARGE OFFENSE: O9OLOT CAPITAL MURDER-MULT VICT DATE: 04/06/03°° LSR INC:

 

 

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Cast B20 PRVAB6703-Y Document 84-8 Filed 11/03/17 Page 106 of 144 PagelD 1946

. ¥ Yoonne Post, D.O., DI. _ | = _

August 18,2003 -

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Re: Louise Ely |

To Whom It May Concern: — _
Due to multiple medical problems, Nrs- Ely is- notable to appear in.couct or testify. She
suffers from severe anxiety and depression, hypertension, and osteoarthritis. .

If | may be of further assistance please don’t hesitate to call.

Cordially,

 

 

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Yvonne Post D.O. a
oo : THOMAS WoED
SEP-2 9 2003
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2317 Hendley Or. Fort Wiih, Texas 76112 (817) 496-1494 Moti. 6G4:1196 Fox 196-0480

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 107 of 144 Page GPU NIA Kae RK

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| CAUSE NO. 0885306D The af 9 2003
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THE STATE OF TEXAS x IN THE DISTRI CT COCRTEL bonus
VS. xX TARRANT COUNTY, TEXAS

BILLY JACK CRUTSINGER x 213™ JUDICIAL , DISTRICT
COURT'S CHARGE ON PUNISHMENT |

MEMBERS OF THE JURY: |
. ~\. You have found the defendant guilty of the offense of capital murder. You are instructed that

\ , -
a sentence of imprisonment in the Institutional Division for life or a sentence of death is mandatory
on conviction for capital murder. In order for the court to assess the proper punishment, certain
special issues are submitted to you. Before answering these special issues you will consider the
following instructions. = Oe _

I.

In arriving at the answers to the special issues submitted, it will not be proper for you to fix
the same by lot, chance or any other method than by a full, fair and free exchange of the opinion of
each individual juror.

IL. |

In deliberating on Special Issue No. | and Special Issue No. 2, the jury shall consider all
evidence admitted at the guilt or innocence stage and the punishment stage, including evidence ofthe  -
~ defendant's background or character or circumstances of the offense that militates for or mitigates
against the imposition of the death penalty. a | .
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You are instructed that in answering Special Issue No. 1 the State has the burden to prove
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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 108 of 144 PagelD 1948

beyond a reasonable doubt that the answer should be "Yes." The jury may not answer Special Issue
No. 1 "Yes" unless the jury agrees unanimously on the answer.
IV. -

You are instructed that in answering Special Issue No. 1 that the jury may not answer "No"

 

 

 

unless ten or more jurors agree. The jurors need not agree on what particular evidence supports a .

"No" answer. Ifany juror has a reasonable doubt as to his answer to this special issue, the juror shall

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~~vote "No."
WN

 

| @ SPECIAL ISSUE NO. 1.
Do you find from the evidence beyond a reasonable doubt that there is a probability that the

defendant would commit criminal acts of violence that would constitute a continuing threat to

| THOMAS A. WILDER
‘ety? AS A. WILDER, DIST. CLERK .
society TARRANT COUNTY, TEXAS

ANSWER: Yrs ("Yes" or"No")  - say forbid SEP 30 2003.
. Time lo oof ~

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If the jury has answered Special Issue No. 1 "Yes", the jury will answer Special Issue No. 2:

© You are instructed that in answering this special issue, you shall answer the issue "Yes" or
"No." You may not answer the issue "No" unless the jury unanimously agree, and you may not
answer the issue "Yes" unless ten or more jurors agree, The jury need not agree on what particular . 7 oe
evidence supports a "Yes" answer on this issue.’ In deliberating on Special Issue Number 2, you

shall .consider mitigating evidence to be evidence that a juror might regard as reducing the | . ob
defendant’s moral blameworthiness. | | - ~ Gg

If the jury answers that a circumstance or circumstances warrant that a sentence of life

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imprisonment rather than a death sentence be imposed, the Court will sentence the defendant to -
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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 109 of 144 PagelD 1949

imprisonment in the institutional division of the Texas Department of Criminal Justice for life.

| SPECIAL ISSUE NO. 2. 7
Whether, taking into consideration all of the evidence, including the circumstances of the

offense, the defendant's character and background, and the personal moral culpability of the

7 defendant, there is a sufficient mitigating circumstance or circumstances to warrant that a sentence of ”

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woe, . THOMAS A. WILDER, DIST. C
life imprisonment rather than a death sentence be imposed? TARRANT COUNTY, ST, CLERK

SS ANSWER: No O ("Yes" or "No"). eu my Meck SEP 30 2003 soe

., | VI. Py Pda Deputy A

In.a criminal case the law permits a defendant to testify in i own . behalf but hei is not
compelled to do so, and the same law provides that the fact that a defendant does not testify shall not —
be considered as a circumstance against him. You will, therefore, not consider the fact that the
defendant did not testify as a circumstance against him; and you will not, in your retirement to
consider your verdict, allude to, comment on, consider, or in any manner refer to the fact that the
defendant has not testified.

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Under the law applicable in this case, if the defendant is sentenced to imprisonment in the

 

institutional division of the Texas Department of Criminal Justice for life, the defendant will become
eligible for release on parole, but not until the actual time served by the defendant equals 40 years,
without consideration of any good conduct time. It cannot accurately be predicted how the parole

| laws might be applied to this defendant if the defendant is sentenced to a term ofimprisonmentfor-  «
life because the application of those laws will depend on decisions made by prison and parole

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authorities, but eligibility for parole does not guarantee that parole will be granted.
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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 110 of 144 PagelD 1950
During your deliberations you will not consider or discuss any possible action of the Board of
Pardons and Paroles or the Governor.
You are the exclusive judges of the facts proven, of the credibility of the witnesses; and of the
weight to be given their testimony, but you are bound to receive the law from the Court which is

herein given you, and be governed thereby.

 

In deliberating on this case, you shall consider the charge as a whole and you must not refer

. “te or discuss any matters not in evidence before you.
\ ’

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You must not consider nor mention any personal knowledge or information you may have
about any facts or person connected with this case which is not shown by the evidence. You shall
not consult law books or anything not in evidence.

Any further communication must be in writing signed by your foreperson through the bailiff —
to the Court, except as to your personal needs which may be communicated orally to the bailiff in |
charge. Do not attempt to talk to the bailiff, the attorneys or the Court regarding any questions you
may have concerning the trial of the case.

After argument of counsel, you will retire and consider your answer to the special issues

submitted to you. It is the duty of your foreperson to preside in the jury room and vote with you on
the answers to the special issues submitted. When you have reached a verdict, you shall use the
blanks provided following each special issue to indicate your answers to the special issues, and your

foreperson should sign the attached form certifying to your verdict.

_ ROBERT K. GILL, JUDGE °

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17. Page 111 of 144 PagelD 1951

verdict.

CERTIFICATE

We, the jury, having answered the foregoing issues, return the same into Court as our

Lee peSON OF THE JURY

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ER, DIST,
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RANT COUNTY.

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 112 of 144 PagelD-1952

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THORRARANT COUNTY, TEXAS.

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Case a 07-cv-00703-Y ‘Document 84-8 Filed 11/03/17 Page 1 113 of 144 PagelD 1953 \
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CERTIFICATE OF FROCEEDINGS |
(CASE: 0885306 DATE: Q_/30/04 DOCKET: 0885306D . CID: ooo1eas
DEFENDANT: CRUTSINGER,BILLY JACK WARRANT: | i
MICRO: 4 | INDICTED: Y DATE: 06/19/03
COURT: D213 HEARD: | TRANSFER COURT: |
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CHARGE OFFENSE: O90107 CAPITAL MURDER- -—MULT VICT DATE: 04/06/03 LSR INC:

DISPOSITION orFense: OGOIO?

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PLEA: + NE&I BOND TYPE: FINE:

 

 

 

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sentence: DEATH 77 EVENT: : MISC:
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JUDGE: . forty fH CLERK: WW held.

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 114 of 144 PagelD 1954

 

THE STATE OF TEXAS IN THE 213th DISTRICT

VS. NO. 0885306D , COURT OF
BILLY JACK CRUTSINGER © _TARRANT COUNTY, TEXAS
_ JUDGMENT

 

On September 22, 2003, this cause was called for trial and the State appeared by her re
Criminal District Attorney, Assistants Lisa Callaghan and Michele Hartmann, and the

attorneys for the Defendant, Billy Jack Crutsinger, Honorables William H. ‘Ray and Tim

 

 

 

Moore, announced ready for trial; and, the State having made known that it would seek.

the Death Penalty in this case and the Defendant having been heretofore arraigned; and,

it appearing to the Court that the Defendant was mentally competent and the Defendant

having been charged in the indictment with Capital Murder; thereupon, a Jury of good
‘ “send lawful men and women, to-wit: Foreperson, and eleven others, was ¢ uly selected, a
, , impaneled and sworn, as the law directs, and the said Criminal District Attorney read .
to the Jury, Count One of the indictment herein, and the Defendant entered his plea of
Not Guilty to Count One of. the indictment, to the jury heréto; and the Jury, after
hearing the evidence, and being duly charged by the Court, retired to consider its verdict, —
and after deliberation, returned in open court on the 25th day of September, 2003, the’ .

‘following verdict, to-wit:

VERDICT FORM

We the Jury find the Defendant guilty of the offense of Capital
Murder as charged i in the indictment.

Signed: Foreperson

And the Jury, having heard all the evidence, and being duly charged by the Court,
retired to consider its verdict, and after due deliberation, returned into open Court, on
the 30th day of September, 2003, their answers to the following Issues, and their verdict: .

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Case 4:07-cv-00703-Y Ddcument 84-8 Filed 11/03/17 Page 115 of 144 PagelD 1955

PE ISSUE NO. 1

Do you find from the evidence beyond a reasonable doubt’ **
that there is a probability that the defendant would commit
criminal acts of violence that would constitute a continuing
threat to society? = fie

 

 

- SPE I NO. 2

Whether, taking into consideration all of the evidence, :
including the circumstances of the offense, the defendant’s ' nt
character and background, and the personal moral culpability .
of the defendant, there is a sufficient mitigating circumstance

or circumstances to warrant that a sentence of life imprison- ..

ment rather than a death sentence be imposed? 4h

 

\ ANSWER: _No_(“Yes" or “No")

 

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We, the jury, having answered the foregoing issues, return the same into Court as our

verdict.

By
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Signed: Foreperson

And the Court, having duly polled the Jurors individually at the ‘Fequest of the

 

Defendant, and all Jurors having affirmed their individual verdicts, and ite Court duly

 

accepted the verdicts and ORDERED the same to be filed.

Upon receipt of the Jury Verdict, the Court then discharged the Jurors and then -

 

proceeded to sentence the Defendant, Billy Jack Crutsinger, as follows, to-wit:

. The Defendant, Billy Jack Crutsinger, was asked by the Court, whether he had - ‘ i,

anything to say why sentence should not be Pronounced against him, and the Defendant ,

answered ‘nothing i in bar thereof;

 

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 116 of 144 PagelD 1956

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The Court proceeded, in the presence of the said Defendant, Billy Jack Crutsinger,

and his counsel of record, to pronounce sentence against him as follows:

It is the ORDER of the Court, that you, Billy Jack Crutsinger, having been adjudged

by the jury to be guilty of the offense of Capital Murder, and the jury having answered

Special Issue No. One "Yes", and Special Issue No. Two "No", and it being mandatory ~

that your punishment be death, it is therefore the ORDER of this Court that your

punishment shall be DEATH, and that on a date to be determined by this Court upon .

Mandate of Affirmance issued by the Texas Court of Criminal Appeals, at the State
Penitentiary at Huntsville, you shall be caused to die by intravenous injection of a
substance or substances in a lethal quantity sufficient to cause your death and until you

the said Billy Jack Crutsinger, are dead; said execution procedure to be determined and

. supervised by the Director of the Institutional Division of the Texas Department of
“Cximinal Justice, and the Clerk of this Court is ORDERED to issue a Death Warrant .

in accordance with this sentence, directed to the Director of the Institutional Division -

of the Texas Department of Criminal Justice.

est é . /
DATE SIGNED . HON. LoL PRESIDING JUDGE Lt

213th DISTRICT COURT
TARRANT COUNTY, TEXAS

‘ ake
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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 117 of if WB aomlpePs7

| GAO
no_088 eb. Tim o 3.0 2003

THE STATE OF TEXAS (INTHE 213th JUDI dé ra
\( . DISTRICT COURT OF

, VS. -
| ; Billy Sack Crutsinderperendan (YT ‘ARRANT COUNTY, TEXAS:

TRIAL COURT’S CERTIFICATION OF DEFENDANT'S RIGHT OF APPEAL

ss,

 

 

 

I, judge of the trial court, certify this criminal case:
NN is not a plea-bargain case, and the defendant has the right of appeal.(or)

@ is a plea-bargain case, but matters were raised by written motion
filed and ruled on before trial and not withdrawn or waived, and the
defendant has the right of appeal.(or)

 

is a plea-bargain case, but the trial court has given permission to appeal;: A .
" and the defendant has the right of appeal.(or) -

 

_ isa plea-bargain case, and the defendant has NO right of appeal.(or)
_ the defendant has waived the right of appeal.

JurprtIf > a frolea

Judge Date signed

 

© ' Jacknowledge that I have been informed of the above certification by the trial court and .
waive the receipt of a copy thereof. -

Defendaut (if not represented b¥tounsel) - _Defendant’s sel .. Let
. SBOT#. ~ OE 7
Mailing address: Mailing address; SO Awport Frwy a
: _ : Et. Worth | TX “WGN oS
Tel No.__-_—Fax No. . Tel No.SU¥ 31-88 Fax No. CY

A Defendant in a criminal case has the right of appeal under these rules. The trial court shall enter a
certification of the defendant’s right to appeal in every case in which it enters a judgment of guilt or other appealable
order. In a plea-bargain case -- that is, a case in which a defendant’s plea was guilty or nolo contendere and the 5.
punishment did not exceed the punishment recommended by the prosecutor and agreed to by the defendant -- a
defendant may appeal only: (A) those matters that were raised by written motion filed and ruled on before trial, or
(8) after getting the trial court’s permission to appeal. Texas Rules of Appellate Procedure 25.2 (a)(2). ©

 

 
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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 1 ats of 144 PagelD 1958

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_ CASE No. 0885 30D
va STATE OF TEXAS IN THE 213th

 

DISTRICT COURT

Bel {\ Y Sack Crubuinger| TARRANT COUNTY, =

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- NOTICE OF APPEAL
TOTHE HONORABLE JUDGE OF SAID COURT:

@ "Comes now, Buy SACK CautsinGER in the above styled

and numbered cause and gives this his Notice of Appeal to the Court of Criminal

4.

Appeals of Texas from the judgments heretofore rendered against him in the F

above-styled and numbered cause.

 

 

WER OSE As ,
couse BAD, \ ack
p3 9003 1 DEFENDANT

OR

_ ATTORNEY FOR(DEFENDANT -
BAR CARD # ONTO?

 

 
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Case 4:07-cv- 00703-Y Docum men 48) Fileg coma of 144 144 _ PagelD 1959: _

 

INTHE (27th

DISTRICT COURT

 

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TARRANT COUNTY, ‘TEXAS

  

THE STATE OF TEXAS
FILED |

Bitty Tack Gout a
Thou 4 ane DER, FS ene ~

_-MOTION FOR FREE REPORTER’S RECORD AND. ‘anna
-  AFFIDAVITOF INABILITYTO PAYFOR
COUNSEL AND REPORTER’S RECORD - SEP 30.2003

7 oN, Fre (oR! BRP

TO THE HONORABLE JUDGE OF SAID COURT: Deputy
@ Comes now, “Bitty SACK Ceurs inGER. , Appellant in the .
above styled and numbered cause and submits this motion for a free Reporter’s ] Record
for the appeal pursuant to Tex. R. App. P. 20.2, stating that he/she is too poor to pay
for or otherwise obtain a Reporter’s Record for the appeal or to give security t therefor

either in. whole or in part.
WHEREFORE, PREMISES CONSIDERED, Appellant prays that the Motion be

granted and that the official Court Reporter thereof be ordered to prepare a Reporter's
Record in accordance with Tex. R. App. P. 20.2.

 

Oo : | ATTORNEY FOR-APPELLANT |
Comes now the Defendant in the above styled and numbered cause, and'states to —
the Court upon his oath that he is without counsel of his own selection to represent him
herein, and is unable to obtain a Reporter's Record for Appeal in this cause because he

is too poor to pay for same, and is unable to give security therefor in perkettine the
appeal before the Court of CRIMINAL Appeals of Texas.

Bs Neal OLE 4
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Sworm to and Subscribed to before m me this 30 a of Sa At 2 ; 23. en
vate DISTRICT CLERK

-TARRANT COUNTY, TEXAS - oo 24305

  

 

 
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Case 4:07-cv-00703- Docu wa 2 _
Vv . 3-Y Egcynads 84-OTsonOly XD Page 120 of 144 PagelD 1560

 

 

 

"THE STATE OF TEXAS § INTHE 213th
§ DISTRICT COURT ___:

 

VS.
Billy sack Crutainger 5. TARRANT COUNTY, TEXAS |

ORDER APPOINTING COUNSEL FOR THE APPEAL

AND
AS 2

ORDER FOR COURT REPORTER TO PREPARE REPORTER'S RECORD

 

\ On this day, it being made known and appearing to the Court that the |
* Defendant is without counsel of his own selection to represent him herein, and that he. .
ty therefor, to represent him herein and the

is too poor to employ counsel, or give securi
to represent him in.the above.

Defendant having requested that an attorney be appointed
styled and numbered cause. - aon

IT I$ THEREFORE ORDERED, ADJUDGED, AND DECREED by the
Court that i / S04 a Ae
a regularly licensed and practicing attorney is hereby appointed to Tt
Defendaiit as his attorney, and said Attorney is hereby authorized to proceed to perform
the duties of the Attorney for the defendant in this cause. :

epresent the

And on this day, it appearing to the Court that the Defendant in the above styled
and numbered cause, has given his/her Notice of Appeal to the Court of CRiminAL
Appeals of Texas. And it being made known that the Defendant herein has filed his/her -
affidavit, stating the he/she is too poor to pay the Court Reporter for a.Reporter’s
Record for such appeal or give security therefor. ~ .

‘The Court is of the opinion that the Defendant is entitled to the relief as prayed

 

 

 

 

for.
It is therefore the ORDER of this Court that the Official Court Report |
Court, - STEVE SecH(clER | prepare and
furnish a Reporter’s Record to be used in perfecting the appeal in thiscause. = = .
PRESIDING JUDGE -
4 4(36 [0%
_ DATE SIGNED

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Case 4:07-cv-00703-Y Document 84-8. ‘Filed 11/03/17 ‘Page Hfdufs sap 1961

NO. 0885306 WT Cou PBT fe

THE STATE OF TEXAS § IN THE 213TH fig, a 2003.

, § 8 ws
VS. § DISTRICT coll 20h
BILLY JACK CRUTSINGER § TARRANT COUNTY, TEXAS iy

MOTION FOR APPOINTMENT OF AN EXPERT

 

TO THE HONORABLE JUDGE OF SAID COURT:

NO NOW COMES BILLY JACK CRUTSINGER, the Defendant in the above styled and .

\
Co cause, and moves this Court to appoint an expert to assist his counsel in this case and for

 

cause would show the Court as follows:

The Defendant is charged by indictment/information with the offense of Capital Murder. The . :

Defendant is unable to pay an attorney to represent him in this case.
| I.

The Court has appointed the undersigned counsel to represent the Defendant in this case.
Thien also requests that, the Court appoint Dr. Walter Quijano to assist defense counsel in
representing the Defendant i in this case. Article 26. 05 C.C.P.; Ake v. Oklahoma, 470: U.S. 68
(1985); Richardson v. State, 744 swad (Tex. Crim. App. 1987); Article 1, Sections 10 and 19, Texas
Constitution. |

- WHEREFORE, the Defendant prays that this Court appoint an expert and authorize “© payment :

of reasonable fees and expenses for the expert relating to his case. - et

MOTION FOR APPOINTMENT OF EXPERT

 

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 122 of 144 PagelD 1962

Respectfully submitted,

 

  

Cc et

 

‘: MOTION FOR APPOINTMENT OF EXPERT

Sundance Square
115 W. 2nd, Suite.202
Fort Worth, Texas 76102
(817) 332-3822
_ Fax (817) 332-2763
ATTORNEY FOR DEFENDANT :

 

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 123 of 144 PagelD 1963

 

NO. 0885306
‘THE STATE OF TEXAS § «INTHE 213TH
Vs. | DISTRICT COURT OF
" BILLY JACK CRUTSINGER ; | TARRANT COUNTY, TEXAS
_ ORDER - |

 

Came on to be heard the Motion for Appointment of Expert of Defendant, BILLY JACK.
a CRUTSINGER, in this case. Upon consideration of the motion and argument of counsel, it is hereby
y , Anos

GRANTED. The Court hereby appoints Dr. Walter Quijano to provide expert services to Defendant

 

and to his counsel to assist the Defendant’s counsel in representing the Defendant in this case. The rr
Court hereby authorizes the payment of reasonable expert fees and expenses upon submission ofa
. statement of the fees and expenses incurred. The Court further ORDERS the Tarrant County Sheriff -
to allow Dr. Walter Quijano access to the Defendant in the Tarrant County Jail at any time. The
Court further ORDERS that any reports, notes or observances by Dr. Walter Quij ano shall be
delivered to Defendant’s attorney of record, Mr. Timm Moore. :
@ IT IS SO ORDERED.

SIGNED AND ENTERED ON L2 hi , 2003.

Lebsty

“JUDGE PRESIDING .

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~ ORDER ON MOTION FOR APPOINTMENT OF EXPERT |

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 124 of 144 PagelD 1964

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CASE NO. 0855306D 03 OCT -1..P354

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THE STATE OF TEXAS § !

VS. § DISTRICT COURT :

. BILLY JACK CRUTSIN GER § ‘TARRANT COUNTY, TEXAS~ +

™s, | |
. - ATTACHMENT FOR A WITNESS ;

TO ANY CERTIFIED PEACE OFFICER, SHERIFF OR ANY CONSTABLE OF TARRANT COUNTY, STATE
OF TEXAS, GREETINGS:

 

You are hereby commanded to take the body of LOUISE CRUTSINGER, whose address is 510 RIDGECREST pe i

CIRCLE, SAGINAW, TX and bring said LOUISE CRUTSINGER before the 213TH District Court , of Tarrant County, oo |
_ Texas, on SEPTEMBER 29, 2003, at 9:00 AM, then and there to testify as a witness in behalf of the inthe case of THE
STATE OF TEXAS vs. BILLY JACK CRUTSINGER, in Cause No. 0855306D, pending before said Court, said witness.

, having disobeyed a subpoena. ce sy

The Bail: Bond required of said witness is fixed at $No Bond Set.

© Herein fail. not, and due return make of this Writ, on or about SEPTEMBER, 29, 2003, Be

et dy ee

oof

Witness my signature and seal of office ¢ on ‘September’ 29, 2003.

fo,

THOMAS A. WILDER
DISTRICT CLERK
ae A TARRANT COUNTY, TEXAS

 

By:

 

   
  

Deputy District Clegh
213TH DISTRIG

- 4310

 
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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 125 of 144 PagelD 1965

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TARR OUNTY

CASE NO. 0855306D

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THE STATE OF TEXAS §
i : § : :
VS. | § DISTRICT COURT:
. \.

\

. | ATTACHMENT FOR A WITNESS

 

TO ANY CERTIFIED PEACE OFFICER, SHERIFF OR ANY CONSTABLE OF TARRANT COUNTY, STATE
OF TEXAS, GREETINGS:

You are hereby commanded to take the body of LOUISE CRUTSINGER, whose address is 510 RIDGECREST. |
CIRCLE, SAGINAW, TX and bring said LOUISE CRUTSINGER before the 213TH District Court , of' Tarrant County,
Texas, on SEPTEMBER 29, 2003, at 9: 00 AM, then and there to testify as a witness in behalf of the in the case of THE - .
STATE OF TEXAS vs. BILLY JACK CRUTSINGER, in Cause No. 0855306D, pending before said Court, said witness
having disobeyed a subpoena.

The Bail Bond required of said witness is fixed at $No Bond Set.

 

Herein fail not, and due return ‘make of this Writ, on or about SEPTEMBER 29, 2003.

Witness my y signature and seal of office on September 29, 2003.

THOMAS A. WILDER
DISTRICT CLERK ~—
_ TARRANT COUNTY, TEXAS

   
   

By:

 

“SHERRI LOCKER) DGP
Deputy District Clez
213TH DISTRIG

4844

 

 
Case 4:07-cv-00703-Y Document 84-8

CERTIFICATE

\SE: O8B5304 DATE: (03,09

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Filed 11/03/17 Page’126 of 144 PagelD 1966

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OF PROCEEDINGS

 

 

 

 

 

 

 

DOCKET: O8@5306D CID: 0001483

ZFENDANT: CRUTSINGER,BILLY JACK | . WARRANT:
(CRO: CRUTSINGER,BILLY JACK INDICTED: Y DATE: 04/19/03
WRT: D213 HEARD: TRANSFER COURT: |
Ve ss TO: COUNTY:
JARGE* OFFENSE: 090107 CAPITAL MURDER-MULT VICT DATE: 04/06/03 /LSR INC: __-
[SPOSITION OFFENSE: 090107 CAPITAL MURDER-MULT VICT
@ | BOND TYPE: FINE: ©.
LSP: - Jf STATUS: CT cost: ©
=NTENCE: | fof EVENT: MISC: |
STION: ~ RNG: RT | | DUE:
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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 127 of 144 PagelD 1967

FILED

THOMAS A. WILDER, DIST.
TARRANT COUNTY, TEXAS

 

 

NO. 0885306D
OCT 28 2003
THE STATE OF TEXAS | ( IN THE 213TH ting vi
| x By eputy
VS. | | mt DISTRICT COURT OF
. x
BILLY JACK CRUTSINGER \ TARRANT COUNTY, TEXAS
MOTION FOR NEW TRIAL

TO THE HONORABLE ROBERT GILL, JUDGE, 213TH DISTRICT COURT:

COMES NOW, BILLY JACK CRUTSINGER, by and through his attorney of record,
William H. “Bill” Ray, and files this Motion for New Trial, and in support thereof, would show
the Court as follows:

_ The verdict was contrary to the law and evidence.

Additionally, the Defendant would show that he has previously filed a “Motion to Quash

 

the Indictment and Declare the Death Penalty Unconstitutional Due to Disparate Treatment,
Specifically Unequal Financial Constraints and Criteria, in Twenty Six Counties of the State of
Texas and That Such Constraints Cause said Disparate Treatment in the Decision to Seek the
Death Penalty by the Various Prosecuting Authorities of Persons Charged with Capital Murder n
the State of Texas,” on September 4, 2003, and the “Defendant’s Supplemental Motion to Quash
the Indictment and Declare the Death Penalty Unconstitutional Due to Disparate Treatment,”
filed September 16, 2003, both of which were overruled by the trial court.

The Defendant would show that the trial court erroneously overruled his Motion to Quash
and the Supplemental Motion to Quash, and would further show that since the time of those *
aforementioned filings, the Defendant has received additional information from Comal, Kimble,
Liberty, Lubbock, and Stephens Counties.

Comal County, as shown by the Exhibit 32 of the original Motion to Quash and this

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 128 of 144 PagelD 1968

Motion for New Trial, had 13 capital murder cases filed, with no specific budget for capital
murder cases, regardless of whether the death penalty was sought. Comal County appears to
have had one capital murder case tried, the Jack Davis trial, and it appears that the District

i

Attomey’s budget was $75,000.00 over three years.

 

~ Kimble County, as shown in Exhibit 34 of the original Motion to Quash and this Motion: mone seen
for New Trial, had no capital cases filed and does not budget for capital murder cases. .
Liberty County does not separate its budget for capital and non capital cases.
Lubbock County, as shown in Exhibit 34 and this Motion for New Trial, rather than
respond to the request made by counsel, sent correspondence stating that it would not respond.

. Stephens County, population 9,990, ds shown in Exhibit 34 and this Motion for New
Trial, had 1 capital murder prior to the requested years, (1998),and showed no funds budgeted or
expended for that capital murder. .

Upton County, population 3,440, has no funds budgeted for capital murder cases.
Thus, it appears that there are two additional counties that have filed capital murder cases,
and financial constraints have had a bearing on whether the death penalty is sought.
For these reasons, the Defendant reurges his previous Motion and Supplemental Motion,
and requests that this Court grant him a new trial.
| PRAYER

WHEREFORE, the Defendant Prays that the Court grant him a new trial in this case.

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 129 of 144 PagelD 1969

RESPECTFULLY SUBMITTED,

Ca

 

LAW OFFICE OF WILLIAM H. “BILL” RAY, P.C._
5041 AIRPORT FREEWAY
FORT WORTH, TEXAS 76117
(817) 831-8383

(817) 831-8306, FAX

 

CERTIFICATE OF SERVICE

I certify that a true copy of the Defendant’s Motion for New Trial was hand delivered to
the office of Tim Curry, Criminal District Attorney, at the Office of the Criminal District 5B
Attorney of Tarrant County, Texas, 401 W. Belknap St. Ft. Worth, Tx. 76196-0201 on th the? &

day of October, 2003. L~

WILL . "BILL-RAY

 

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 1300f144 PagelD 1970

NO. 0885306D

THE STATE OF TEXAS ¢ IN THE 213TH
oo \
VS. ( - DISTRICT COURT OF
MC
BILLY JACK CRUTSINGER xe TARRANT COUNTY, TEXAS

 

THE COURT’S ORDER ON THE DEFENDANT'S ~~
MOTION FOR NEW TRIAL

CAME UPON TO BE HEARD, the Motion for New Trial filed by the Defendant in this
case. Accordingly, the Court, after reviewing the Motion for New Trial, finds that it should be
and the same is hereby:

Granted, the Defendant is granted a new trial in this case.

Denied.

 

SO ORDERED.

ROBERT GILL
JUDGE, 213TH DISTRICT COURT

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Case 4:07-cv-00703-Y

Document Sl abe Sea” Page 131 of 144 PagelD 1971

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GENERAL FUND EXPENDITURES
CRIMINAL DISTRICT ATTORNEY

2003

 

 

 

 

 

 

 

2000 2001 2002, 2002 2003 2003
ACTUAL ACTUAL. «= APPROVED = AMENDED» REQUESTED RECOMMENDED APPROVED
PERSONNEL: , _
025-5001 DISTRICT ATTORNEY SUPPLEMENT - - 2,400 2,400 2,400 2,400 2,400
025-5015 ASST. DISTRICT ATTORNEYS. ~ * 341,435 379,956 424,881 462,188 557,258 615,362 604,502
025-5025 “SECRETARIES * . 275,060 312,140 336,582 336,582 355,096 355,096 362,220
025-5032 LONGEVITY - - - 6,800 9,560 9.560 9,560
025-5075 INVESTIGATORS 92,885 91,513 81,022 81,022 85,954 88,162 88,411
025-5080 !NSPECTORS | 25,210 27,165 28,949 28,949 30,708 32,590 31,951
SALARY SUMMARY 734,590 810,774 873,834 917,941 1,040,976 1,103,170 1,099,044
“EMPLOYEE BENEFITS:
025-5120 FICA 55,017 60,108 66,847 70,224 79,637 84,396 84,075
025-5130 HOSPITALIZATION 63,018 72,886 79,704 81,918 105,040 105,040 105,040
025-5150 RETIREMENT 63,753 68,233 73,752 77,475 90,461 95,869 95,508
025-5170 WORKERS COMPENSATION 3,199 2,434 2,911 3,062 3,770 3,937 3,933
025-5175 UNEMPLOYMENT COMPENSATION _. 814 729 874 915_ 1,353 1,434 1,425
EMPLOYEE BENEFITS SUMMARY — 185,801 204,389... 224,085 233,591 280,261 290,676 289,981
=:
OFFICE SUPPLIES §,725 5,780 6,800 6,800 7,500 7,500 7,500
025-5305 COPIER MAINTENANCE 2,632 1,584 3,000 3,000 1,500 1,500 1,800
. 025-5315 BOOKS & PUBLICATIONS 1,850 2,297 2,500 2,500 2,500 2,500 2,500
| 025-5320 GAS & OlL 1,451 1,542 1,000 1,000 1,500 1,500 1,500
: FILM & DEVELOPING 100 32 - - - - -
oe OL of AL CONTRACT - WEEKEND MAGISTRATION + - - - 5.200 5,200 5,200
025-5416 LAB & WITNESS COSTS 3,743 3,903 3,600 3,600 4,000 4,000 4,000
025-5420 TELEPHONE - 1,750 1419 3,000 - 3,000 3,000 3,000 3,000
025-5430 MOBILE PHONES 1,120 730 1,000 1,000 1,000 1,000 1,000
025-5440 TRAVEL 6,900 7,366 10,000 10,000 11,000 11,000 11,000
025-5614. NON-CAPITAL EQUIPMENT - - - - 800 800 800
025-5624 COMPUTER COMPONENTS & SOFTWARE 478 105 1,000 1,000 6,655 6,655 6,655
025-5810 DUES 2,000 1,945 2,000 2,000 2,500 2,500 2,500
025-5841 TRAINING & EDUCATION 822, 1401 - 839 - - -
025-5860 VIDEO TAPES 59 74 450 450 450 450 450
025-5865 SPECIAL PROSECUTOR (JACK DAVIS TRIAL) : 84,835 : : : : =
OPERATIONS SUMMARY 28,630 112,723 34,350 35,189 47,605 47,605 47,605
e: OUTLAY:
G. 19 CAPITAL EQUIPMENT : 895 : : 15,000 15,000 15,000 -
CAPITAL OUTLAY SUMMARY . 895 . - 15,000 15,000 15,000
025-5000 TOTAL CRIMINAL DISTRICT ATTORNEY 949,021 1,128,781 = 1,132,269 1,186,721 1,383,842 1,456,451 1,451,630

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* ONE SECRETARY ALSO RECEIVES COMPENSATION FROM THE LAW LIBRARY FUND.

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on

a COMAL COUNTY |
. Case 4:07-cv-00703-Y Document 842692 AW@RFEDROBREZ Page 132 of 144 PagelD 1972
GENERAL FUND EXPENDITURES
CRIMINAL DISTRICT ATTORNEY
1999 2000 2001 2001 2002 2002 2002
+ * * ACTUAL ACTUAL APPROVED AMENDED REQUESTED RECOMMENDED APPROVED
PERSONNEL: .
«2s. DISTRICT ATTORNEY SUPPLEMENT . . . - 2,400 2,400 2,400
025-So1S ASST. DISTRICT ATTORNEYS -- 289,878 341,435 356,914 377,896 424,881 - 424,881 424,881
025-5025  SECRETARIES* 236,879 275,060 294,202 315,085 334,851 336,582 336,582
025-5026 LAWSTUDENT ° - 215 - 2 - - - -
025-5075 INVESTIGATORS - 83,948 92,885 87,496 87,496 81,022 $1022 | C_ 81022
025-5080 INSPECTORS . . 23,407 25,210 27,014 27,014 28,949 28,949 28,949
proce te tee AEARY SUMMARY. 634,326--..734,590._...... 765,626 807,491 872,103 873,834 873,834
EMPLOYEE BENEFITS:
025-5120 FICA 47,615 55,017 58,570 61,774 66,714 66,847 66,847
025-5130 HOSPITALIZATION 63,785 63,018 66,755 70,906 79,704 79,704 79,704
025-5150 RETIREMENT : 56,499 63,753 64,309 67,834 73,606 73,752 73,752
025-5170 | WORKERS COMPENSATION 3,018 3,199 3,440 3,524 2,909 2911 2911
025-5175 UNEMPLOYMENT COMPENSATION | _ 1,020 814 686 728 869 , 87! : 871.
EMPLOYEE BENEFITS SUMMARY 171,938 185,801 193,760 204,766 223,802 224,085 224 ,
OPERATIONS: .
025-5205 . OFFICB SUPPLIES 5,368 5,725 5,800 5,800 6,800 6,800 6,800
025-5305 COPIER MAINTENANCE 2,479 2,632 4,000 2,000 3,000 3,000 3,000
025-5315 BOOKS & PUBLICATIONS 1,593 1,850 2,000 2,150 2,500 2,500 2,500
025-5320 GAS &OIL 990 1451 1,250 1,250 1,000 1,000 1,000
025-5325 FILM & DEVELOPING 177 100 100 100 - - -
025-5416 LAB & WITNESS COSTS 18,656 3,743 3,600 3,600 3,600 3,600 3,600
025-5420 TELEPHQNE 2,945 1,750 3,000 3,000 3,000 3,000 3,000
025-5421 KEY CITE WEST CITATION 385 - - - - - -
025-5430 MOBILE PHONES ‘ 500 4,120 1,000 1,000 1,000 1,000 1,000
025-5440 TRAVEL 6,900 6,900 8,000 8,000 10,000 10,000 - 10,000
025-5810 DUES 1,950 2,000 2,000 2,000 2,000 2,000 2,000
025-5841 TRAINING & EDUCATION 981 822 - 1,054 - - -
025-5860 VIDEO TAPES 307 59 450 450 450 450 450
025-5865 SPECIAL PROSECUTOR (JACK DAVIS TRIAL) - - : : - os e
OPERATIONS SUMMARY 43,231 28,152 31,200 30,404 33,350 33,350 33,360
EQUIPMENT & SOFTWARE: \
025-5619 CAPITAL EQUIPMENT 6,422 - - - - - -
025-564 COMPUTER COMPONENTS & SOFTWARE © 1030 478 1,000 1,000 1,000 1,000 1,000
EQUIPMENT & SOFTWARE SUMMARY 7452 478 1,000 1,000 1,000 1,000 1,000
025-5000 TOTAL CRIMINAL DISTRICT ATTORNE $56,947 949,021 991,586 1,043,661 1,130,255 1,132,269 1,132,269

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Case 4:07-cv-00703-Y

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Document 84-8COM@HGQYNEHL7 Page 133 0f 144 PagelD1973
2001 ADOPTED BUDGET

GENERAL FUND EXPENDITURES

CRIMINAL DISTRICT ATTORNEY

1998 1999 2000 2000 2001 2001 | , 2001

 

. ACTUAL ACTUAL APPROVED AMENDED REQUESTED RECOMMENDED APPROVED
Pfrexsonver | , ,
025-5015 ASST. DISTRICT ATTORNEYS 191,750 289,878 339,230 346,592 348,871 356,914 356,914
925-5025 SECRETARIES* 219,274 236,879 275238 - 277300 «287,037 294,202 294,202
[ 925-5026 LAW STUDENT - US : - -
025-5075 INVESTIGATORS 16,764 83,948 81,654 83,036 85,797 87,496 87,496
025-5080 INSPECTORS _ 17,665 23,407 24,715 25,210 26,490 27,014 27,014
[ 025-5120 FICA 38,182 47,615 55,148 56,013 57,240 58,570 58,570
025-5130 HOSPITALIZATION 59,503 63,785 66,618 66,618 66,921 66,755 66,755
025-5150 RETIREMENT 41,574 56,499 62,780 63,278 65,167 64,309 64309
eo WORKERS COMPENSATION 3,300 3,018 3,354 3,416 3371. 3,440 3,440
75 UNEMPLOYMENT COMPENSATION 1,042 1,020 793 807 673 686 686
OPERATIONS:
025.5205, STATIONERY & OFFICE SUPPLIES 5,289 5,368 5,400 5,439 5,800 5,800 5,800
625-5305 COPIER MAINT. & SUPPLIES 1,150 2,479 3,532 3,532 4,000 4,000 4,000
025.5315 _ BOOKS & PUBLICATIONS 1,401 1,593 2,000 * 2,000 2,000 2,000 2,000
025-5320 GAS & OL 895 990 1,250 1,250 1,250 1,250 1,250
[ 025.5325 FILM & DEVELOPING 254 177 “100 100 100 ° 100 100
025-8416 LAB & WITNESS COSTS 3,791 18,656 3,600 3,600 3,600 3,600 3,600°
025-5420 TELEPHONE 2,956 2,945 3,000 3,000 3,000 3,000 3,000
[ 025-5421. KEY CITE WEST CITATION 1,282 385 - : - " e
025-5430 MOBILEFHONES — 200 500 1,000 1,000 1,000 1,000 “1,000
025-5440 TRAVEL & MEETINGS 6851 6,900 6,900 6,900 8,000 " 8,000 8,000
| 025-5810 DUES 1,942 1,950 2,000 2,000 2,000 . 2,000 2,000
025-5841 TRAINING & EDUCATION 1,741 981 - “852 - - -
9 - VIDEO TAPES 225 307 450 450 450 450 450
S: CAPITAL EQUIPMENT 15,433 6,422 - - - - -
025-5624 ‘COMPUTER COMPONENTS & SOFTWARE + 1,030 1,000 1,000 1,000 . 1,000 1,000
025-5000 TOTAL CRIMINAL DISTRICT ATTORNEY 692,464 856,947 939,762 953,393 973,767 991,586 991,586

 

 

 

* ONE SECRETARY ALSO RECEIVES COMPENSATION FROM THE LAW LIBRARY FUND.

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Case 4:07-cv-00703-Y

 

 

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1999 ADOPTED BUDGET
GENERAL FUND EXPENDITURES
CRIMINAL DISTRICT ATTORNEY
‘ 1996 1997 1998 1998 1999 1999 1999
ACTUAL ACTUAL APPROVED § AMENDED REQUESTED RECOMMENDED APPROVED
_ 625-5015 _ ASST. DISTRICT ATTORNEYS (©) - 202,755 200,214 172,216 199,266 270,624 270,624 270,624
025-5016 DISTRICT ATTORNEY SUPPLEMENT 2,400: 2,400 - - - - -
025.5025 SBCRETARIES (11) 176,934 179,623 202,486 220,999 240,083 240,083 240,083
wre ves timninnnenenen a gpg TT AGD a TI MGI en
625-5086 INSPECTORS (1) : - - - 21,522 23,063 23,063 23,063
025-5120 FICA 34,118 34,547 34,332 39,462 46,763 46,763 46,763
25-5130 HOSPITALIZATION 37,818 44,325 51,696 59,235 66,420 66,420 66,420
025-5150 | RETIREMENT 35,446 37,363 36,981 42,509 54,339 54,339 54,339
625-5170 | WORKERS COMPENSATION 1,870 ° 2,524 2,827 3,142 3,928 3,928 3,928
025-5175. | UNEMPLOYMENT COMPENSATION 869 1,922 1,122 1,230 977 977 977
OPERATIONS: f
025-5205 STATIONERY & OFFICE SUPPLIES 6,484 6,151 5,400 5,400 5,400 5,400 5,400
025-5305 COPIER MAINT. & SUPPLIES - 936 1,010 L150 1,150 3,532 3,532 3,532
025-5315 BOOKS & PUBLICATIONS 1,666 3,272 1,600 1,600 1,600 1,600 1,600
025-5320 GAS & OIL 1,017 1,042 1,150 1,750 1,750 1,750 1,750
025-5325 FILM & DEVELOPING , 625 257 400 400 200 200 200
025-5416 LAB & WITNESS COSTS 7,013 3,227 3,800 3,800 3,800 3,800 3,800
025-5420 TELEPHONE 3,124 3,817 4,300 4,300 ‘4,300 4,300 4,300
925-5421 KEY CITE WEST CITATION - - - 1,300 1,300 1,300 1,300
025-5430  MOBILEPHONES 239 200 200 200 500 500 500
025-5440 TRAVEL & MEETINGS 5,540 6,823 6,900 6,900 6,900 6,900 6,900
025-5415 | OFFICE EQUIPMENT REPAIRS 391 - - _ - - -
025-5810 = DUES 1,986 2,019 1,950 1,950 1,950 1,950 1,950
025-5841 TRAINING & EDUCATION - 1,218 - 1,740 - - -
025-5860 VIDEO TAPES 398 797 450 450 450 450 450
025-5995  MISCELLANBOUS COSTS ; 481 - - - - - -
025-5618 | NON-CAPITAL EQUIPMENT "1 - - - - - (
(25-5619 CAPITAL EQUIPMENT 4,113 - 2,500 17,500 9,083 6,422 6422
025-5624-_/ COMPUTER COMPONENTS & SOFTWARE - - - - 1,000 1,000 1,000
025-4" SPECIAL PROSECUTION-JACK DAVIS TRIAL - - - - - 25,000 25,000
025-5000 TOTAL DISTRICT ATTORNEY "$94,921 605,993 606,150 709,895 825,454 847,793

 

 

 

 

. ONE SECRETARY ALSO RECBIVES COMPENSATION FROM THE LAW LIBRARY FUND. SBE PAGE 56

ALL PRIOR YEAR EXPENDITURES FROM THE COUNTY ATTORNEY'S OFFICE AND THE ENVIRONMENTAL ENFORCEMENT

OFFICE HAVE BEEN INCLUDED IN THE ABOVE FIGURES IN ORDER TO ALLOW MEANINGFUL COMPARISON

847,793 /

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PERSONNEL:
: 025-5015 ASST. DISTRICT ATTORNEYS -
: 025-5016 DISTRICT ATTORNEY SUPPLEMENT
025-5025 SECRETARIES *_
025-5075 INVESTIGATORS |
"925-5080 INSPECTORS
: 025-5120 FICA
025-5130 | HOSPITALIZATION
_ 025-5150 RETIREMENT
| 025-5170 | WORKERS COMPENSATION
: 025-5175 | UNEMPLOYMENT COMPENSATION
OPERATIONS:
_ 025-5205 STATIONERY & OFFICE SUPPLIES
[ S COPIER MAINT. & SUPPLIES
@: BOOKS & PUBLICATIONS
- 025-5320 GAS & OIL
025-5325 FILM & DEVELOPING
: 925-5456 LAB & WITNESS COSTS
| 025-5420 TELEPHONE
025-5421 KEY CITE WEST CITATION
025-5430 | MOBILE PHONES
' 025-5440 TRAVEL & MEETINGS
" 025-5810 DUES
" 025-5841 TRAINING & EDUCATION
025-5860 VIDEO TAPES
} 625-5619 CAPITAL EQUIPMENT
| 925-5624 COMPUTER COMPONENTS & SOFTWARE
025-5865 SPECIAL PROSECUTION-JACK DAVIS TRIAL
025-5000 TOTAL CRIMINAL DISTRICT ATTORNEY

 

- Case 4:07-cv-00703-Y Document 8

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2000 ADOPTED BUDGET

 

GENERAL FUND EXPENDITURES
CRIMINAL DISTRICT ATTORNEY

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17 Page 1350f144 PagelD 1975 20

 

 

* ONE SECRETARY ALSO RECEIVES COMPENSATION FROM THE LAW LIBRARY FUND.

1997 1998 1999 1999 2000 2000 2000
ACTUAL ACTUAL APPROVED AMENDED REQUESTED RECOMMENDED APPROVED
200,214 191,750 270,624 301,397 339,230 339,230 339,230
2,400 - - - - - -
179,623 219,274 240,083 240,083 274,163 275,238 275,238
73,243 16,764 77,492 ” 77,492 81,654 81,654 81,654
= 17,665 23,063 23,063 24,715 24,715 was
34,547 38,182 46,763 49,118 51,807 55,148 55,148
44,325 59,503 66,420 68,634 73,062 69,840 66,618
37,363 41,574 $4,339 . 57,075 63,986 62,780 62,780
2,524 3,300 3,928 4,030 3,675 3,354 3,354
1,922 1,042 977 1,027 1,151 793 793
6,151 5,289 5,400 5,400 5,400 5,400 5,400
1,010 1,150 3,532 3,532 3,532 3,532 3,532
3,272 1,401 1,600 1,600 2,000 2,000 2,000
1,042 895 1,750 1,750 1,750 1,250 1,250
257 254 200 200 200 100 100
3,227 3,791 3,800 3,800 3,919 3,600 3,600
3,817 2,956 4,300 4300 4,300 3,000 3,000
- 1,282 1,300 1,300 - - -
200 200 500 500 1,000 1,000 1,000
6,823 6,851 6,900 6,900 7,500 6,900 6,900
2,019 1,942 1,950 1,950 2,000 2,000 2,000
1,218 1,741 - 981 - - -
797 225 450 450 450 450 450
- 15,433 6,422 6,422 2,200 - -
- - 1,000 1,000 1,000 1,000 1,000
2 - 25,000 25,000 25,000 - -
605,993 692,464 847,793 887,004 973,694 942,984 939,762

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Gase-4:07-cv-00703-¥...Document 84-8 Filed 11/03/17. Page 136 of 144 PagelD 1976

COMAL COUNTY AUDITOR

Account Activity of Account 010-025-5865 - GF - DIST ATTORNEY - SPECTAL PRESEQUTOR (uACK DAVIS TRIAL)

RUDEETARY ACCOURTIRG SYSTER

16:45: 27 24 JUL 2003

 

 

 

The Softuare Group, Inc. Fron 01/01/1999 thru 07/24/2003 Page i
Account Id: 010-025-5865 -‘see THACTIVE ax Expenditure - DETAIL
Account Balance as of 07/31/2003: 0.08
CURRENT YTD Expenditures: @. 00
Le, .-Total Debits Total Credits ....Het Change Closing Balance
Balance Fud 0.00
2003 January 0.00
February 4.00
farch 0.00
April 0.08
fay 0.06
dune 0.00 (
PESTED Encunbrance: 0.00 UNPOSTED Encunbrance: 6.00
--Eacurbrances Unencunbrances ....Net Change Closing Balance
Balance Fad 0.00
2003 January 0.00
February 0.00
March 9.00
faril §.00
flag §.20
dune 6.00 -
Apply Dt P Trans Ig... Deseription.......... ba eee e ee ee ce eeees Debit... 00.0. Credit........ Encunbrasce... Unencunbrance. .
O314/01 Y ACP-171458 ATTORNEY GENERAL OF TEXAS; JANUARY EXPER 243. 93 0.06 0.88 ft
04/02/02 ¥ A/P-171459 ATTORNEY GENERAL OF TEAS; FER EXPERSES/ 1,515. 77 0.60 1.060 $1.00
O4/02/01 ¥ A/P~171460 RID ENGLERT; TX U. JACK BAUTS/ BA 566.17 9.00 §.90 0.00
O4/11/01 ¥ ACP-171919 BEXAR CU. FOREXSIC SCI CTR: DAVIS CASE/C 200.00 0.00 0.00 1.00
Q5/08/01 Y /P-173361 © IDT; FEES FOR ST US. JACK DAUTS _ 3 150. 00 0.00 0.40 6.00
QS/i4/01 ¥ A/P-173667 ATTORNEY GENERAL OF TEXAS: 3/28/01 TO S/ 1,953. 8? 9.86 6.00 6.0
05/29/02 Y A/F-174515 LABORATORY CORP OF ANERTCA: LAB TEST/ BA 48 750.00 0.06 6.60 0.00
O5/20/01 Y A/P-174516 — LINITSE STECKLER; COPY OF TESTINOHY FRON 74.00 0.00 6.0 0.00
Oe/10/0L Y A/P-176827 ATTORNEY GENERAL OF TEXAS; 5/1/01 TD 5/4 589. 34 9.00 0.09 t.00
O7/31/01 Y A/P-177967 LABORATORY CORP OF AMERICA: FI-3094/FOR 750. 00 0.08 0.89 “0.00
O9/19/01 Y A/P~180667 LABORATORY CORP OF AMERICA; FORENSIC CON 700.00 0.90 0.69 6.00
10/L7/01 Y A/P-181642%2 Correction of Inv 181642 - Correcting Ea 149.90 0.08 0.00 6.00
LO/E7/OL Y A/P-181877 STEPHEN THOMAS; TRAUEL RETHOURSHEHT/ &4.22 - 0.08 6.00 * §.00
10/17/01 Y A/P-181878 MARGARET JOYCE SKEETERS: HILEAGE REIHEUR 101.45 0.00 8.00 &.00
10/23/01 Y A/P-182200 MARGARET HERBRICH: NEAL AND MILEAGE REIN 242.35 0.00 @.90 0.00
10/23/01 Y A/P-182202 KATHY FAULKNER: HEAL Alth MILEAGE RETHOUR. 211. 38 0.80 §.00 0.00
10/201 Y ACP-182331  JOHH CALENTINE: HEAL AND GAS RETHBURSEHE 14.48 0.08 0.280 6.00
10/29/02 Y A/P-182650 LABORATORY CORP OF ANERICAs STATE ¥ JACK 985.40 §.06 §.80 0,08
10/29/01 ¥. ACP-482675 «TBI; STATE US JACK DAVIS / 4,275.80 9.00 0.00 §.00
10/29/01 Y A/P-182693 TBI; EXPENSES’ STATE US JACK DAUTS 692. 09 8.00 0.00 0.00
10/30/01 Y A/P-182806 NARTO GUERRERO; HETHESS CLATH FEE/ 86.25 0.08 0.90 9.06
10/30/01 Y A/P-162807 PAM BENNETT; WITHESS CLATN FEE? 96 HILES 47.02 0.00 0.00 8.00
10/30/01 Y A/P-182808 HARK BLAKENBECKLER; MLTHESS FEE CLATH? 4 41.46 0.08 0.00 $.00

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CEHAL COUNTY AUDITOR BUDEETARY ACCOUNTING SYSTER 16:45:27 24 JUL 2003
Recount Activity of Account 010-025-5865 - GF - DIST ATTORNEY - SPECIAL PROSECUTOR CuACK DAUTS TRIAL)
The Softuare Group, Inc. Frou Q£/0L/1999 thre 07/24/2003 Faga = 2
fipply Gt F Trans Id.... Beseription...........0.0.. 000000000005. Babit.. 02... Credit. ...... Encunbrance... Unencunbrance. .
16/30/01 Y A/P-182807 © ROSA RISZ: WITHESS. FEE CLATH/ HEAL RETNE §. 44 1. 08 G. 66 0.00
16/30/01 Y A/P-182810 HENRY R. HOLLYDAY, ITT; WITNESS FEE CLAT 50. 29 0.66 - 0. 00 6. 06
16/30/01 ¥ /P-182011 = DENNIS KEATING; WITHESS FEE CLATH? 685 H 285.16 0.08 &. 00 §. 06
16/30/01 Y A/P-182812 GREG RAVIERA; NITHESS FEE CLAIN/ 399 NIL 153.76 0. 06 6. 08 . 00
10730701 Y A/P-182813 GERALD GREENNEID: NITHESS FEE CLATH/ pa _ 3.87 0.60. 6.00 - 4. 60
10/30/01 Y A/P-182814 © ROBERTO GAYARDE: WITNESS FEE CLATH/ 166 45. 70 &. 68 0. 8 0. 00
16/30/01 ¥ A/P-182815  HONTGINERY RAMA: HITHESS FEE CLATH/ DAUT 1,488.05 9.08 (. 66 0. 08.
ii/05/0i Y A/P-18309G = BEXAR CD. FORENSIC SCI CTR; CILS 92-0271 860. 06 0. 00 0. 86 . 60
11/06/01 Y ACP-183240 © MICHAEL R. ARAMBULA, HDs STATE ¥ JACK H. 4 GGG. OG §, G6 0. 08 0.00
11706701 Y A/P-183297 — HOPPE‘S GUEST HOUSE: 17 NIGHTS UCT 1-11 1 440.7% 0.00 0. 80 0.00
11/06/01 Y A/P-183299 © THE GINGERBREAD HOUSE; 19 NIGHTS SEPT 30 1,616.25 0. 68 G. 80 0.06
13/01 Y AvP-183568 © ATTORNEY GERERAL DF TEXAS; 08/21/01-10/4 3,328. 00 0. 66 0.06 6. 00
Gx: Y ACP-183586 GEST HESTERN MARBLE FALLS IKK; HOTEL FOR 1,327.50 0. 06 0. 86 6.00
4/14/01 Y A/P-183848 — LAIUIRATORY CORP OF ANERTCA: FORENSIC Lan 3,000. 06 0.00 (. 06 0.00
11/27/01 Y A/P-184284 = TRAVIS COUNTY MEDICAL EXAMINER; FEE FOR 300. 00 0.08 6. 0 0. 00
12/11/01 ¥ A/P-194736 HARK BLANENBECHLER: HITHESS FEE CLATH/HE 7.52 0. 80 1. 08 8.00
A2/L2/01 ¥ A/P-183I68KL Deletion of Inv 183568 - Reversing Entry 6.00 3,728. 08 0.00 9.00
L2/s1/Ol oY AVP-485434 OFFICE OF THE ATTORNEY GENERAL; 9/23-16/ 3,040, 32 9. 68 0.000 6.00
i2/si/0i ¥ A/P-185641 — LANERATORY CORP OF AHERICA; FOURERSTC SER 750. 00 0. 88 0. 00 §. 00
12/31/01 Y A/P-185861 ADVANTAGE COPTER SERVICE; COPIES / DIST 242.94 9. 06 6. 00 9.00
12/31/01 Y A/P~186473 MINHA BENHETT; REIMBURSEMENT OF THE DIFF 16.07 0.60 0.86 $.00
12/3i/0i Y A/P-188513 DONNA BENNETT: TRAVEL EXPENSES FOR JACK 214. 30 0. 68 6. G0 6. 60
06/03/02 ¥ A/P-194500 ELANCI COUNTY i JACK WARREN DAUIS TRIAL? 2,106.58 $. 00 . 80 0. 00
06/03/02 Y ACP-194503 © BLANCHE COUNTY i JACK HARREN DAUTS TRIAL 4 753.21 0.60 0. Gt &.00
Total POSTED Activity 95 023. 26 3 3H. G8 @. a f. 00
Total UNPOSTED fictivity 0.00 0.00 0.00 9.00

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 138 of 144 PagelD 1978

NAME OF COUNTY

KIMBLE

CAPITAL MURDER CASES FILED IN THIS COUNTY BY YEAR

 

 

 

 

 

 

 

INDICATED BELOW:
Fiscal Year Number of Indictments filed for ©
Capital Murder

2003 -0-

2002 204 (
2001 -0-

2000 -0-

1999 -0-

 

 

 

 

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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 139 of 144 PagelD 1979

APPROXIMATE POPULATION OF COUNTY |

CAPITAL MURDER CASES WHEN THE STATE SEEKS THE DEATH

wee ee eo tlie

NAME OF COUNTY Liberty -, COUNTY SEAT _ Liberty

72,000

 

 

 

 

 

 

 

 

 

 

PENALTY:
Fiscal Year Funds Budgeted - Funds Actually Spent }
2003 258,000 0
2002 | 218,000 x 0
2001 218,000 * 0
| 2000 220,000 * 0
| 1999 160,000 * 0

 

 

CAPITAL MURDER CASES WHEN THE STATE DOES NOT SEEK THE _

 

 

 

 

 

 

DEATH PENALTY:
Fiscal Year Funds Budgeted Funds Actually Spent
2003 same _as above. 0
2002 " 0
2001 " 0.
2000 " 0
1999 " 0

 

 

 

 

 

* Total budgeted for all court appointed attorneys

& witness expenses. Liberty County does not budget

seperately for capital & non-capital ‘cases.

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R.cv-00703-Y Doc@ReIteos TARDISTAMTICLERGE 140 of 144 PagelD 1980

Room 105, COURTHOUSE - Bareara Sucsy
P O Box 10536 RBARA §
LUBBOCK, TEXAS 79408-3536 ISTRICT CLERK
JEANNETTE ARLEDGE

(806) 775-1310

FAX (806) 775-1382 CHIEF DEPUTY

_ September 16, 2003

 

 

Law Office of William H. Ray P.C.
5041 Airport Freeway
Fort Worth, Texas 76117

Re: Open Records Request for Death Penalty Expenses

Dear Mr. Ray:

The information your are requesting is maintained by the District Clerk as an agent of the
judiciary and is therefore not subject to the Texas Public Information Act (See Tx. Att’y Gen. OR
2002-2931). Our office will not be sending the requested information. If you have any questions
regarding this, please contact our Civil attomey, Donna Clarke at (806) 775-1112.

  

District Clerk Filing Supervisor
Lubbock County, Texas

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cee es eerie at

Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 141 0f 144 PagelID 1981

NO. 0885306D

 

THE STATE OF TEXAS re IN THE 213TH
VS. . | - x DISTRICT COURT OF
_ BILLY JACK CRUTSINGER x TARRANT COUNTY, TEXAS
7 BUSINESS RECORDS AFFIDAVIT
Before me, the undersigned authority, personally appeared Hil, Libe >

 

J
who, being by me duly sworn, deposed as follows:

“My name is of, fedex EB , 1am of sound mind, capable of
making this affidavit, and personally acquainted with the facts herein stated:

-.
Tam the custodian of the records of the District Clerk’s Office of Alp honad omy,

Texas. Attached hereto are__/ pages of information obtained from records from the District

Clerk’s Office of _ o£ phens County, Texas. This information is kept by the District Clerk’s
Office of of fig Luce’ County, Texas in the regular course of business, and it was the regular
course of business of the District Clerk’s Office of alijhen? County, Texas for an

@ employee or representative of the District Clerk’s Office of hh eplind '_County, Texas, with
knowledge of the act, event, condition, opinion, or diagnosis, recorded to make the record or to
transmit the information thereof to be included in such record; and the record was made at or
near the time or reasonably soon thereafter. The information contained in the attached page is

obtained from the records in the District Clerk’s Office and represents the exact number of

capital murder cases filed for the years indicated in this county.” . .
AFE
SWORN TO AND SUBSCRIBED before me on the day of , 2003.

+

NOTARY PUBLIC, STATE OF TEXAS

1327

 
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Case 4:07-cv-00703-Y Document 84-8 Filed 11/03/17 Page 142 of 144 PagelD 1982

NAME OF COUNTY Mp beaa.

CAPITAL MURDER CASES FILED IN THIS COUNTY BY YEAR

INDICATED BELOW:

 

 

 

Fiscal Year

Number of Indictments filed for
Capital Murder

 

2003 0

 

2002 0°

 

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NO. 0885306D

THE STATE OF TEXAS ) INTHE 213TH
: \(
VS. \( DISTRICT COURT OF

: )

BUSINESS RECORDS AFFIDAVIT
Before me, the undersigned authority, personally appeared EZ > ASH a 2Aé

who, being by me duly sworn, deposed as follows:

“My name is EL Lz: 262211 C 224102 , lam of sound mind, capable of

making this affidavit, and personally acquainted with the facts herein stated:

Iam the custodian of the records of Lh pros) County, Texas. Attached hereto are
_# pages of information obtained from records from _2/ ~4yxy County, Texas. This
information is kept by__ foto td County, Texas in the regular course of business, and it

was the regular course of business of Lk a-fouw County, Texas for an employee or

representative of Ul OHO a/__ County, Texas, with knowledge of the act, event,

condition, opinion, or diagnosis, recorded to make the record or to transmit the information
thereof to be included in such record; and the record was made at or near the time or reasonably
soon thereafter. The information attached hereto is the exact amount of expenditures or budgeted

amounts, as applicable, for the years indicated in this county.”

 
 
   

AFFIANT |

SWORN TO AND SUBSCRIBED before me on the_/9_ day of Svptinber 2003.

NOTARY PUBLIC, STATE OF TEXAS
Notary Public, State of Texas 1 3 9 9

\ LAWANDA YVONNE BEND

 
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NAME OF COUNTY Lyre) p/__, COUNTY SEAL Lona!
APPROXIMATE POPULATION OF COUNTY __.3 ¥¥0

CAPITAL MURDER CASES WHEN THE STATE SEEKS THE DEATH
_ PENALTY:

 

Fiscal Year Funds Budgeted , Funds Actually Spent |
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CAPITAL MURDER CASES WHEN THE STATE DOES NOT SEEK THE
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